No. _______

                SUPREME COURT OF NORTH CAROLINA
              ********************************************

JEFFERSON GRIFFIN,

          Petitioner,

     v.
                                              From the North Carolina
                                              State Board of Elections
NORTH CAROLINA BOARD OF
ELECTIONS,

          Respondent,


                 ***********************************
              PETITION FOR WRIT OF PROHIBITION OF
               THE HONORABLE JEFFERSON GRIFFIN

              IMMEDIATE ACTION REQUESTED BEFORE
                   MONDAY, 23 DECEMBER 2024
                   ***********************************




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                     SUPREME COURT OF NORTH CAROLINA
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JEFFERSON GRIFFIN,

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       v.
                                                          From the North Carolina
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NORTH CAROLINA BOARD OF
ELECTIONS,

              Respondent,


                      ***********************************
                   PETITION FOR WRIT OF PROHIBITION OF
                    THE HONORABLE JEFFERSON GRIFFIN

                   IMMEDIATE ACTION REQUESTED BEFORE
                        MONDAY, 23 DECEMBER 2024
               ***********************************
TO THE HONORABLE SUPREME COURT OF NORTH CAROLINA:

       The Honorable Jefferson Griffin respectfully petitions this Court to issue a writ of

prohibition to stop the State Board of Elections from counting unlawful ballots cast in the

2024 general election. In addition, Judge Griffin also requests a temporary stay from the

Court before Monday, 23 December 2024. That stay is necessary to enable the Court to

consider and rule on Judge Griffin’s petition for a writ of prohibition.

                       SUMMARY OF REQUEST FOR RELIEF

       Judge Griffin first moves the Court to immediately issue a temporary stay of (1)

the State Board’s certification of the election for Seat 6 of the North Carolina Supreme


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Court and (2) the requirement that Judge Griffin file a petition for judicial review within 10

days of service of the State Board’s decision. As explained below, a temporary stay will

protect this Court’s jurisdiction to decide the questions of law that are raised in Judge Grif-

fin’s election protests—questions that our nation’s system of federalism reserves for state

courts, not federal courts.

       Second, Judge Griffin asks the Court to exercise its power—as granted by the North

Carolina Constitution—to supervise inferior tribunals, such as the State Board. Judge Grif-

fin asks the Court to issue a writ of prohibition that prohibits the State Board from counting

ballots cast in violation of North Carolina’s statutes and constitution. As explained below,

the State Board has continued to issue rulings and administer our elections in violation of

North Carolina law, and the Board’s lawlessness cannot be allowed to continue.

                                    INTRODUCTION

       Judge Griffin seeks a writ of prohibition to stop the counting of unlawful ballots by

the State Board of Elections. The State Board is an administrative agency that has know-

ingly broken the law and refused to do anything about it. Indeed, the Board has been break-

ing our election laws for decades. This lawlessness was brought to the Board’s attention

back in 2023, before the 2024 general election, but the Board refused to correct its errors.

Now those chickens have come home to roost. In the 2024 general election, the Board’s

errors changed the outcome of the election for the open seat on this Court. When those

errors were raised again in valid election protests, the Board then claimed that it was too

late to fix its law-breaking.



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       At bottom, this case presents a fundamental question: who decides our election

laws? Is it the people and their elected representatives, or the unelected bureaucrats sitting

on the State Board of Elections? If the Board gets its way, then it is the real sovereign here.

It can ignore the election statutes and constitutional provisions, while administering an

election however it wants.

       Judge Griffin, currently a judge of the North Carolina Court of Appeals and candi-

date for Seat 6 on the Supreme Court of North Carolina, seeks to restore the supremacy of

the democratic process and the preeminence of the rule of law. He filed election protests

across all North Carolina counties to challenge the State Board’s lawless administration of

his electoral contest. With this petition for a writ of prohibition, there are three types of

election protests at issue.

       First, the Board intends to count ballots that were cast by people who did not law-

fully register to vote. Since 2004, state law has required voter applicants to provide their

drivers license or social security number before lawfully registering to vote. However, the

State Board chose to ignore this law for decades. Thus, approximately 60,000 people cast

votes in the protested judicial race without providing that statutorily required information

on their voter applications. These voters were not allowed to cast a ballot in this race be-

cause they were not “‘legally registered’ to vote.” Bouvier v. Porter, 386 N.C. 1, 4 n.2, 900

S.E.2d 838, 843 n.2 (2024) (quoting N.C. Gen. Stat. § 163-54).

       Second, the State Board decided to count ballots cast by voters who have, by their

own admission, never resided in North Carolina or anywhere else in the United States.



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Since 1776, our state constitution has limited eligible voters in state races to bona fide North

Carolina residents. See id. (“Certain categories of individuals are also categorically ineligi-

ble to vote, such as . . . nonresidents . . . .”). But ballots were accepted in the Supreme

Court race from people who were born outside the United States and have never lived an-

ywhere in the United States. Counting the votes of these “Never Residents” was illegal.

       Third, the Board has accepted absentee ballots cast by people who failed to provide

photo identification with their ballots. Thousands of overseas voters cast ballots without

providing their photo identification. But state law requires all voters to provide photo iden-

tification to vote; overseas voters casting absentee ballots do not get special treatment. The

Board likewise broke the law by counting these ballots.

       In response to these protests, the State Board and the opposing candidate, Justice

Allison Riggs, have claimed that Judge Griffin is seeking a retroactive change in the election

laws. That flatly mischaracterizes the timeline. Our registration statutes required drivers

license or social security numbers back in 2004. Our state constitution has imposed a resi-

dency requirement since 1776. And photo identification has been required for absentee vot-

ing since at least 2018. The laws that should have governed this election were, therefore,

established long before this election. The State Board simply chose to break the law.

       But the State Board of Elections is no super-legislature. It doesn’t get to make up its

own rules, disregard state statutes, or rewrite the state constitution. Rather, the Board was

required to discount votes that were cast in violation of state law. Like this Court explained

twenty years ago, in an identical situation, “[t]o permit unlawful votes to be counted along



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with lawful ballots in contested elections effectively ‘disenfranchises’ those voters who cast

legal ballots, at least where the counting of unlawful votes determines an election’s out-

come.” James v. Bartlett, 359 N.C. 260, 270, 607 S.E.2d 638, 644 (2005).

       Through its lawlessness, the State Board of Elections is attempting to change the

outcome of this election. Such threatened misconduct should be prohibited. Given the pub-

lic’s interest in reaching finality on this contested race, and the lack of alternative remedies

given the need for an expeditious and final determination, issuance of the writ of prohibition

is a proper exercise of this Court’s constitutional duty to supervise and control the exercise

of judicial power in the state. N.C. Const. art. IV, § 12(1).

                             STATEMENT OF THE FACTS

       On Election Day, Judge Griffin maintained a sizeable lead over Justice Riggs. How-

ever, as ballots continued to trickle in over the next week, Justice Riggs took the lead. As of

today, Justice Riggs leads by 734 votes.

       A.     The Election Protests

       On 19 November 2024, Judge Griffin filed election protests in each of North Caro-

lina’s 100 counties.1 In total, Judge Griffin filed six categories of election protests. How-

ever, only three categories of protests are relevant here. Those three relevant categories are

described briefly below, as well as the likely impact of each on the outcome of the election.



1      Three candidates for the state legislature filed similar protests for their respective
       districts. Although the State Board rejected their protests on the same grounds, the
       appeal for state legislative candidates goes to the respective houses of the General
       Assembly for a final decision. N.C. Gen. Stat. § 163-182.14(c).


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Election protests matter when they change the outcome of an election. Bouvier, 386 N.C.

at 4, 900 S.E.2d at 843 (discussing N.C. Gen. Stat. § 163-182.12).

       Incomplete Voter Registrations. Since 2004, the General Assembly has required some-

one registering to vote to provide his drivers license or last four digits of his social security

number on his voter registration application. N.C. Sess. Law 2003-226, § 9 (codified as

amended at N.C. Gen. Stat. § 163-82.4). However, until December 2023, the State Board

of Elections chose not to enforce this law. And even when the Board admitted its decades

of lawlessness, it refused to cure the improper registrations, and only began requiring the

information from new registrants. In the race for Seat 6 of this Court, over 60,000 people

cast ballots, even though they had never provided the statutorily required information to

become lawful voter registrants. Under state law, unless someone is lawfully registered to

vote, he cannot vote. N.C. Const. art. VI, § 3(1); N.C. Gen. Stat. § 163-82.1(a).

       The form of the protests that Judge Griffin filed with the county boards is the same,

except for attachments that identify particular voters in the county. A sample of the protest

for incomplete voter registrations can be found at appendix pages 1745-1830, for Guilford

County.

       Judge Griffin anticipates that, if these unlawful ballots are excluded, then he will

have won the contest.

       Never Residents. Our state constitution limits voters for state offices to people who

actually reside in North Carolina. N.C. Const. art. VI, § 2(1); Bouvier, 386 N.C. at 4 n.2,

900 S.E.2d at 843 n.2 (explaining that “nonresidents” are “categorically ineligible to vote”



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for state offices). Nonetheless, the State Board allowed approximately 267 people to vote

in the protested election who have never resided in North Carolina or anywhere else in the

United States. These voters self-identified themselves as such, stating on a form “I am a

U.S. citizen living outside the country, and I have never lived in the United States.” Count-

ing these ballots is unlawful. An example of this type of protest can be found in the appendix

at pages 1729-1744.

       It is unknown whether this category of election protests will affect the outcome of

the election, standing alone. As it stands, fewer than 300 Never Residents voted in the elec-

tion, and the current margin between the candidates is over 700 votes. Judge Griffin filed

other categories of election protests that are currently making their way through the admin-

istrative process, including protests targeting deceased voters, felon voters, and voters who

had their registrations denied. The impact on the outcome of the election from those other

protests, which target considerably fewer voters, is presently unknown. These other pro-

tests only affect about 817 voters. App. 40 n.3.

       No Photo ID. It’s well known that photo identification is required for all voters, both

those voting absentee ballots and those voting in person. N.C. Gen. Stat. § 163-230.1(a)(4),

(b)(4), (e)(3), (f1) (absentee ballots); id. § 163-166.16(a) (in-person voting); N.C. Const.

art. VI, §§ 2(4), 3(2) (same). Yet the State Board decided not to require photo identifica-

tion for absentee ballots cast by voters who live overseas. State law, however, doesn’t ex-

empt overseas voters from the photo-identification requirement. An example of this type

of protest can be found in the appendix at pages 1831-1878.



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       Thousands of such ballots were unlawfully cast in the election. Judge Griffin antici-

pates that, if these unlawful ballots are excluded, he will win the election.

       B.     Further Proceedings

       After Judge Griffin filed his protests, the State Board took over jurisdiction from the

county boards for the three categories of protests just described. App. 1-2.

       On 26 November 2024, Judge Griffin filed a motion to disqualify a Board member,

Siobhan Millen, from participating in the Board’s adjudication of his protests. App. 81-90.

Siobhan Millen is married to Justice Riggs’ lead attorney at Womble Bond Dickinson

(“Womble”). Womble has been Justice Riggs’ legal counsel both before and after Election

Day. Pressley Millen is a partner at Womble; and, leading up to Election Day, he held him-

self out as Justice Riggs’ lead attorney. App. 93-94. Admittedly, Mr. Millen has disappeared

from Justice Riggs’ legal team. But the Millen family’s ownership of a partnership share of

Womble, App. 101, nonetheless disqualifies Ms. Millen from ruling on Judge Griffin’s pro-

tests. See Canon 3(C)-(D)(iii), N.C. Canon of Judicial Ethics; see also Guide to Judiciary

Policy, Vol. 2B, Ch. 2, § 220, Ethics Advisory Opinion No. 58 (Disqualification When Rel-

ative Is Employed by a Participating Law Firm). The State Board, however, refused to dis-

qualify Ms. Millen and, instead, allowed her to be the deciding vote on many of two of the

three categories of protests. App. 117-18.

       Meanwhile, on 6 December 2024, the North Carolina Democratic Party (NCDP)

preemptively filed a lawsuit inviting the federal courts to decide Judge Griffin’s protests.

The NCDP, acting as a surrogate for its nominee Justice Riggs, and purporting to act on



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behalf of all voters in the state, filed a federal lawsuit against the individual members of the

State Board of Elections. App. 131-56. The NCDP has brought four claims for relief. The

complaint alleges (1) a violation of the National Voter Registration Act by removing voters

from the voter rolls after an election; (2) a violation of procedural due process under 42

U.S.C. § 1983 and the Fourteenth Amendment of the United States Constitution because

of risk of discounting illegally cast ballots; (3) a further violation of § 1983 and the funda-

mental right to vote; and (4) a violation of the Help America Vote Act by discounting un-

lawful ballots.

       Because the NCDP chose not to name Judge Griffin as a party, he has moved to

intervene in the NCDP’s federal action. Otherwise, nothing has happened in the case. A

copy of the current federal docket is included in the appendix. App. 157-61.

       Back at the State Board, the parties filed briefs, and the State Board heard arguments

on the protests on 11 December 2024. On 13 December 2024, the Board emailed the parties

a copy of its final decision on these categories of protests. App. 38-77.

       This decision consolidated the Board’s treatment of a number of the protests. The

decision is a final decision as to hundreds of protests. Although voluminous, the protests

dismissed by the State Board’s order are included in the appendix to this petition for com-

pleteness. App. 352-3902.

                          MOTION FOR TEMPORARY STAY

       Pursuant to Appellate Rule 23(e), Judge Griffin respectfully applies to the Court for

a temporary stay. A petition for a writ of prohibition, like with supersedeas, is generally



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paired with a temporary stay of inferior court proceedings. State v. Whitaker, 114 N.C. 818,

822, 19 S.E. 376, 377 (1894) (“When entertained, the usual course, unless prior notice of

the petition has been given, is to issue a notice to the lower court to show cause why the

writ should not issue, and to order a stay of proceedings in the meantime.”); State v.

McElrath, 351 S.E.2d 557 (N.C. 1986) (issuing temporary stay of proceedings pending this

Court’s consideration of the petition); State v. Hunt, 357 N.C. 454, 456, 591 S.E.2d 502,

503 (2003) (staying further proceedings).

       A temporary stay is necessary here to perform two functions: (1) stay the issuance

of a certificate of election by the State Board, and (2) stay the deadline for Judge Griffin to

file a petition for judicial review in the superior court. Both stays are necessary for this

Court to be able to exercise jurisdiction over the petition itself.

       As to the first point, once the certificate of election issues, election protests, like

those here, become moot. In re Protest of Whittacre, 228 N.C. App. 58, 59, 743 S.E.2d 68,

69 (2013) (dismissing appeal as moot because “[t]he declaration of election as contained in

the certificate conclusively settles prima facie the right of the person so ascertained and

declared to be elected to be inducted into, and exercise the duties of the office”(quoting

Cohoon v. Swain, 216 N.C. 317, 319, 5 S.E.2d 1, 3 (1939))); In re Election Protest of Fletcher,

175 N.C. App. 755, 759, 625 S.E.2d 564, 567 (2006) (same). A temporary stay, therefore,

preserves this Court’s jurisdiction to decide the petition.

       On the second point, absent a stay, Judge Griffin will have to file a petition in supe-

rior court within 10 days of service of the Board’s final decision. N.C. Gen. Stat. § 163-



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182.14(b). But the State Board and Justice Riggs have given every indication that, upon the

filing of a petition for judicial review, they will try to strip state courts of jurisdiction to

decide this case by improperly removing it to federal court. Judge Griffin’s election protests

raise only questions of state law. However, the State Board, following the argument of Jus-

tice Riggs, has injected various federal statutes into this case, even though those federal

statutes, by their own terms, do not apply. The federal statutes on which they have relied

in this action, as well as in Justice Riggs’s duplicative federal action, are the Help America

Vote Act (HAVA) and the National Voter Registration Act (NVRA).

       As explained in more detail below, infra Argument §§ I.D, the State Board and Jus-

tice Riggs have repeatedly relied on HAVA and the NVRA to excuse the State Board’s

lawlessness. Yet each of these statutes state that they only apply to “an election for Federal

office.” 52 U.S.C. § 21081(a) (HAVA); id. § 21083(A)(1)(a)(viii) (HAVA); James, 359

N.C. at 268, 607 S.E.2d at 643 (“HAVA, which does not apply to state and local elections,

was initiated in the wake of allegations of irregularity and fraud in the 2000 presidential

election.” (emphasis added)); 52 U.S.C. § 20507(c)(2)(A) (NVRA); id. § 20501(b)(1)-(2)

(NVRA).

       Even setting aside the plain language, it’s impossible for these federal laws to apply

to this case. Congress enacted HAVA and the NVRA under the federal constitution’s elec-

tions clause. Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 15 (2013) (NVRA);

H.R. Rep. No. 107-329, pt. 1, at 57 (2001), 2001 WL 1579545 (explaining the constitutional

authority for HAVA); Colon-Marrero v. Velez, 813 F.3d 1, 19 (1st Cir. 2016) (same). But



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under the elections clause, Congress can only create rules for elections to federal office, not

state office. See U.S. Const. Art. I, § 4, cl. 1; Wash. State Grange v. Wash. State Republican

Party, 552 U.S. 442, 451 (2008) (elections clause makes clear that states have “control over

the election process for state offices”).

       Once Judge Griffin files his petition for judicial review in superior court from the

State Board’s dismissal of his election protests, the Board and Justice Riggs will remove the

case to federal court. An eventual remand back to state court from federal court is inevitable

because these federal statutes cannot apply to an election for state office. Nonetheless, it

will take considerable time before a remand motion is briefed and ruled on, and then the

Board and Justice Riggs are certain to delay the matter further by taking an appeal. See 28

U.S.C. § 1447(d) (permitting appeal of remand orders for cases removed under 28 U.S.C.

§ 1443(2)). It could be 2026 before those proceedings end and the case returns to state

court. Although Justice Riggs would holdover in her office until her successor is deter-

mined, this Court has expressed grave concern about letting an improperly elected official

exercise the duties of her office in cases of great public significance. See N.C. State Conf. of

NAACP v. Moore, 382 N.C. 129, 165, 876 S.E.2d 513, 539 (2022).

       By issuing a temporary stay of Judge Griffin’s deadline to file his petition for judicial

review, this can all be avoided. The Court that has the final say on questions of state law

will be able to exercise its lawful jurisdiction without an illegitimate detour through federal

court. Conversely, without a temporary stay that tolls the deadline for filing a petition for

judicial review, Judge Griffin will have to file his petition by 23 December 2024 to have a



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right to seek judicial review in state court of the dismissal of his election protests. N.C. Gen.

Stat. § 163-182.14 (petition must be filed within 10 days’ of service of Board’s final deci-

sion). And then the Board and Justice Riggs will remove that petition to federal court. In

fact, just a few months ago, the State Board used this same removal tactic to place a state

lawsuit concerning the Board’s incomplete-voter registrations in the hands of the federal

courts. See infra Argument § I.D.3.

       This Court can and has exercised its powers to change deadlines of this sort. For

instance, in Harper v. Hall this Court changed the date of the state’s primary elections from

March to May as well as the candidate-filing deadline, and then stated that it had the power

to make “other administrative adjustments” as well. 379 N.C. 656, 658, 865 S.E.2d 301,

302 (2021). The Court justified the exercise of these extraordinary powers by pointing to

“the great public interest in the subject matter of these cases, the importance of the issues

to the constitutional jurisprudence of this State, and the need for urgency in reaching a final

resolution on the merits at the earliest possible opportunity.” Id. Here, the need for this

Court’s intervention is at least as pressing.

       For these reasons, Judge Griffin respectfully requests a temporary stay that (1) stays

the issuance of a certificate of election by the State Board, and (2) stays the deadline for

Judge Griffin to file a petition for judicial review in the superior court. Judge Griffin re-

spectfully requests that this Court grant the temporary stay without awaiting a response,

given the time-sensitive nature of the request. See N.C. R. App. P. 23(e).




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       THE COURT’S POWER TO ISSUE THE WRIT OF PROHIBITION

       This Court has the power to issue a writ of prohibition to stop the State Board from

counting unlawful ballots. A writ of prohibition issues from this Court to an inferior tribunal

to halt threatened, unlawful action, especially in matters of great public significance.

I.     The Constitution Empowers the Court to Issue Writs to Inferior Tribunals.

       This Court “may issue any remedial writs necessary to give it general supervision

and control over the proceedings of the other courts.” N.C. Const. art. IV, § 12(1). Those

“other courts” include all kinds of judicial and quasi-judicial bodies. For example, this

Court has explained that it may issue a writ of prohibition to “inferior courts” and quasi-

judicial officers below the superior court, such as “probate court,” “justices of the peace,”

and the clerk of superior court. Whitaker, 114 N.C. at 820-22, 19 S.E. at 376-77; Mountain

Retreat Ass’n v. Mt. Mitchell Dev. Co., 183 N.C. 43, 45, 110 S.E. 524, 525 (1922).

       The writ also extends to administrative agencies. As this Court has explained, the

Court’s constitutional power and duty to control and supervise the exercise of judicial

power in the state extends to issuing writs that “will aid State agencies in the performance

of their duties.” Moses v. State Highway Comm’n, 261 N.C. 316, 317, 134 S.E.2d 664, 665

(1964). The prerogative writs have historically been “used to regulate administrative agen-

cies performing judicial functions.” Comm. to Elect Dan Forest v. Emps. Pol. Action Comm.,




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376 N.C. 558, 568 n.11, 853 S.E.2d 698, 708 n.11 (2021) (citing Raoul Berger, Standing to

Sue in Public Actions: Is It a Constitutional Requirement?, 78 Yale L.J. 816, 821-22 (1969)).2

       This Court’s power to issue such writs to quasi-judicial agencies is not an anomaly.

Federal courts likewise have the power to issue writs to administrative agencies. The lead-

ing treatise on federal procedure, Wright and Miller, explains that the writ is a “tradition-

bound technique for seeking judicial review of agency action. Courts may use this writ to

enjoin a judicial or quasi-judicial action.” 33 Charles A. Wright & Arthur R. Miller, Federal

Practice and Procedure § 8306 & n.14 (2d ed. Westlaw June 2024 update).

       The writ of prohibition is unique. It is not a civil action, pitting parties against each

other. Instead, “[i]t is, in effect, a proceeding between two courts—a superior and an infe-

rior—and is the means whereby the superior exercises its due superintendence over the

inferior, and keeps it within the limits and bounds of the jurisdiction prescribed to it by

law.” Mayo v. James, 53 Va. (12 Gratt.) 17, 23 (1855). For that reason, as this Court has

explained, “[t]he main feature of the traditional form [of the writ] is the opportunity it pro-

vides for the affected judicial officer to participate directly. This feature may be important

when the conduct drawn in question is alleged to contain elements of abuse of power, or to

reflect a recurring pattern in similar cases.” N.C. R. App. P. 22, Drafting Committee Note

(1975), reprinted at 287 N.C. 671, 732.




2      This influential law review article explained that the writs of certiorari and prohibi-
       tion were both used to control administrative agencies at common law. Berger, su-
       pra, at 821-22.


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       The writ falls within this Court’s constitutional duty to supervise and control the

exercise of judicial power by inferior tribunals. N.C. Const. art. IV, § 12(1). Because this

Court’s general supervisory powers spring from the state constitution, they can’t be lim-

ited by statute. State v. Ellis, 361 N.C. 200, 639 S.E.2d 425 (2007).3 This Court will use its

constitutional supervisory powers in cases like this one. For instance, this Court will use its

“general supervisory authority when necessary to promote the expeditious administration

of justice, and may do so to consider questions which are not properly presented according

to its rules.” Id. at 205, 639 S.E.2d at 428. The Court will even exercise its supervisory

power in the middle of a proceeding when “the parties desire an answer to a question which

is fundamental in determining their rights, is also of public importance, and when decided

will aid State agencies in the performance of their duties.” Moses, 261 N.C. at 317, 134

S.E.2d at 665. Such immediate intervention is warranted so that a case of great public sig-

nificance “may be tried on the correct theory below and unnecessary delay in the admin-

istration of justice be thereby prevented.” Greene v. Charlotte Chem. Lab’ys, Inc., 254 N.C.

680, 694, 120 S.E.2d 82, 91 (1961).

       Although Judge Griffin believes the applicable law here is clear, the writ of prohibi-

tion will issue “to promptly resolve a novel issue of great import,” even if the law was un-

clear when passed upon below. Beaufort Cnty. Bd. of Educ. v. Beaufort Cnty. Bd. of Comm’rs,




3      Which makes sense: “The General Assembly shall have no power to deprive the
       judicial department of any power or jurisdiction that rightfully pertains to it as a co-
       ordinate department of the government.” N.C. Const. art. IV, § 1.


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363 N.C. 500, 506-07, 681 S.E.2d 278, 283 (2009). Indeed, the appellate courts “will not

hesitate to exercise” this supervisory power when, as here, there is a need for “the expedi-

tious administration of justice.” Park Terrace, Inc. v. Phoenix Indem. Co., 243 N.C. 595, 597,

91 S.E.2d 584, 586 (1956); see also, e.g., Ellis, 361 N.C. at 205, 639 S.E.2d at428; State v.

Stanley, 288 N.C. 19, 26, 215 S.E.2d 589, 594 (1975).

II.    The Standard for a Writ of Prohibition.

       This Court has explained that a writ of prohibition is an appropriate remedy in any

of three instances: “[1] to restrain other Courts either from proceeding in a matter not

within their jurisdiction, or [2] from acting in a matter, whereof they have jurisdiction, by

rules at variance with those which the law of the land prescribes, or [3] from proceeding

therein after a manner which will defeat a legal right.” State v. Allen, 24 N.C. (2 Ired.) 183,

188-89 (1841); see also White v. Willett, 456 S.W.3d 810, 812 (Ky. 2015) (“An appellate

court has discretion to grant a writ where a trial court is proceeding within its jurisdiction

upon a showing that the court is (1) acting or is about to act erroneously, (2) there exists no

adequate remedy by appeal or otherwise, and (3) great injustice and irreparable injury will

result if the petition is not granted.”).

       The State Board has acted under rules that violate the law of North Carolina, and in

a way that will defeat the right of Judge Griffin and the public to an accurate counting of

ballots. Under the state constitution and the General Assembly’s enactments, the State

Board was not permitted to count the votes of unlawful registrants, Never Residents, or

voters who did not present photo identification. Yet the State Board has said that is exactly



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what it plans to do. The Board has determined that it can ignore registration information

mandated by the legislature. The Board is also giving state statutes an interpretation that

plainly conflicts with the state constitution. And the Board says that it will follow its own

administrative rules, despite their conflict with statutes.

         When a state agency acts lawlessly on a matter of such great public importance, and

when there is such need for judicial expediency, the only adequate remedy is in this Court,

which holds the fullness of the judicial power. N.C. Const. art. IV. §§ 1, 12(1); see also N.C.

R. App. P. 2 (this Court has the power to suspend the rules to “prevent manifest injustice

to a party, or to expedite decision in the public interest”).

                                  ISSUES PRESENTED

         Whether the Court should issue a writ of prohibition, ordering the State Board of

Elections not to count ballots from people who failed to complete their registrations, from

Never Residents, and from overseas absentee voters who did not provide photo identifica-

tion.

                     REASONS WHY THE WRIT SHOULD ISSUE

         The writ of prohibition should issue because the State Board intends to count un-

lawful ballots, and thereby change the outcome of the election.

         The merits of each of the three categories of election protests are addressed below,

as well as the grave errors committed by the State Board. All the issues presented in this

petition are questions of law that are reviewed de novo. See, e.g., Appeal of Ramseur, 120




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N.C. App. 521, 523-24, 463 S.E.2d 254, 256 (1995). As the State Board agreed, these pro-

tests present “legal questions of statewide significance.” App. 41.

         After addressing the merits, the brief addresses the State Board’s attempt to dismiss

the protests, on alternative grounds, for procedural defaults. But it is easy to see that the

Board had no justification for trying to disqualify Judge Griffin from challenging the elec-

tion results. Judge Griffin’s protests complied with all of the relevant procedural require-

ments.

         Next, Justice Riggs raised a hodgepodge of federal laws that, she has argued, requires

the State Board to count illegal ballots and declare her the winner of this race. But federal

law has nothing to say about the issues in Judge Griffin’s protests.

         Finally, Judge Griffin addresses the objections of the State Board and Justice Riggs

that, because the ballots of ineligible voters have already been counted, it’s too late to do

anything about it. While voting is a constitutional right, the U.S. Supreme Court has long

explained that the right must be balanced with the State’s duty to protect the integrity of

elections.

         Judge Griffin respectfully requests that the Court rule on each of the issues ad-

dressed in this brief. The candidates and the public have a vital interest in this election

receiving finality as expeditiously as possible. See, e.g., Perloff v. Edington, 293 Ala. 277, 281,

302 So. 2d 92, 96 (1974) (“The public has an interest in the speedy determination of elec-

tion contests . . . .”); Kinsey v. Garver, 91 N.E.2d 54, 56 (Ohio Com. Pl. 1950) (“an interest

in the public exists in the speedy determination of election results”); Mansfield v.



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McShurley, 911 N.E.2d 581, 585 (Ind. Ct. App. 2009) (“The public has an interest in the

speedy determination of controversies affecting elections . . . .”). By ruling on each of these

issues, including issues of federal law, this Court can ensure finality across all litigation, for

cases pending both in state and federal tribunals.

I.     It’s Unlawful to Count the Votes of People Who Did Not Lawfully Register to
       Vote.

       Before someone can vote for in a state race in North Carolina, he must be lawfully

registered to vote. To lawfully register, a person must, by statute, provide his drivers license

or social security numbers in his voter registration application. This information is used to

verify the voter’s residence and identity via government databases. But our election boards

have been registering people to vote who never provided this statutorily required infor-

mation for decades. The ballots cast by these improper registrants lack statutory authoriza-

tion because no one can vote if he is improperly registered.

       A.      State law prohibits anyone from voting unless he has provided a drivers
               license or social security number when registering to vote.

       Under state law, a person must provide his drivers license or social security number

at the time of registration before he can lawfully cast a ballot.

       Before voting in an election, a person must lawfully register to vote. Under article

VI of the state constitution, “[e]very person offering to vote shall be at the time legally

registered as a voter as herein prescribed and in the manner provided by law.” N.C. Const.

art. VI, § 3(1). That’s also true by statute: “No person shall be permitted to vote who has

not been registered under” the state’s registration statutes. See N.C. Gen. Stat. § 163-



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82.1(a) (making registration a “prerequisite to voting”); see also id. § 163-54 (“Only such

persons as are legally registered shall be entitled to vote in any primary or election held

under this Chapter.”).

       The protests here involve people who were not legally registered to vote in a manner

provided by law, section 163-82.4, because they failed to provide statutorily required appli-

cation information. Since January 2004, state law has required voter registrants to provide

their drivers license or social security number in their voter application. N.C. Sess. Law

2003-226, § 9 (amending N.C. Gen. Stat. § 163-82.4), § 22 (amendment effective 1 January

2004). This information is used with a statewide computer registration system to verify the

voter’s identity and important details about the voter. See, e.g., N.C. Gen. Stat. § 163-82.11.

       The State Board of Elections is required to create an application form for voter reg-

istration. Id. § 163-82.3(a). From 2004 onward, the General Assembly commanded that the

form require an applicant to provide his “[d]rivers license number or, if the applicant does

not have a drivers license number, the last four digits of the applicant’s social security num-

ber.” Id. § 163-82.4(a)(11). However, a board can accept an application without a drivers

license or social security number only if the applicant “has not been issued either a current

and valid drivers license or a social security number.” Id. § 163-82.4(b) (emphasis added).

       There’s a statutory cure process for somebody who omits their drivers license and

social security numbers, but the omissions raised in these protests have never been cured

by this process. If a person has a drivers license or social security number, but fails to pro-

vide those numbers on their voter application, then the election board shall not allow the



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person to vote unless the voter cures the deficient application before the county canvass

deadline. Id. § 163-82.4(f). The statutory cure procedure applies to a voter who “fails to

complete any required item on the voter registration form.” Id. The board shall notify the

voter of the omission and request completion of a corrected application before the county

canvass. Id. Only if the required information is delivered by that time will the voter’s ballot

be counted. Id. (“If the correct information is provided to the county board of elections by

at least 5:00 P.M. on the day before the county canvass, the board shall count any portion

of the provisional official ballot that the voter is eligible to vote.”). No state law, however,

permits a board of elections to count a ballot for a person who never provided a drivers

license or social security number on his voter registration form.

       Mandating such information from voter registrants is not unique to North Carolina.

For elections to federal offices, Congress, through HAVA, also requires the states to collect

the drivers license or social security number from registrants. 52 U.S.C.

§ 21083(a)(5)(A)(i). If a person with a drivers license or social security card fails to provide

those identifiers on a voter application form, then the application “may not be accepted or

processed by a State.” Id.

       Although HAVA and federal law don’t apply to elections for state offices—such as

the election at issue here—this federal prerequisite to voting in federal elections corrobo-

rates the importance of collecting such information from would-be voters. In other words,

the information required by the General Assembly is not some new law designed to burden

voters but a decades-old feature of election law that protects the integrity of our elections.



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       B.     The State Board admits that it broke the law.

       No one thinks that the State Board actually complied with the law. Instead, it’s clear

that the Board broke the law for twenty years.

       Despite the clarity in the law since enactment in 2003, the State Board did not re-

quire voters to provide a drivers license or social security number when people registered

to vote. Before December 2023, the voter application form appeared like this:




       As this image reveals, the application did not tell registrants that these identifiers

were required because it was not in red text. Yet this information is required. N.C. Gen.

Stat. § 163-82.4(a)(11).

       The Board admitted that it allowed voters to register in violation of the law when it

entered an order on an administrative complaint from 2023 that raised the issue. In that

order, the Board concluded that similar provisions of HAVA could be violated “as a result

of the current North Carolina voter registration application form failing to require an ap-

plicant to provide an identification number or indicate that they do not possess such a num-

ber.” Order at 4, In re HAVA Complaint of Carol Snow (N.C. State Bd. of Elections Dec. 6,



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2023) [App. 165]. The Board ordered its staff to revise the form going forward.4 Id. But the

Board refused to remedy its past legal violations.

       Now, however, the issue has caused irregularities in the protested election, and

those irregularities are outcome dispositive.

       C.     The unlawful registrations haven’t been “cured.”

       The State Board said nothing in its final decision to suggest it followed the law. In-

stead, the State Board sought to excuse its lawlessness by reimagining the election laws.

The Board reasoned that any error by a voter was harmless because the people who did not

properly register cured their defects by providing additional documents as allowed by state

law. See App. 55-56. The Board’s logic is rejected by the relevant statutes’ plain language.

       First, there is no state law permitting a “cure” by providing additional documents.

The only state law to which the State Board could possibly cite would be subsections (a)

and (b) of N.C. Gen. Stat. § 163-166.12.5 Both of these provisions plainly require a person

“who has registered to vote by mail” to provide additional documentation when they actu-

ally vote. N.C. Gen. Stat. § 163-166.12(a), (b) (emphasis added); see Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1169 (11th Cir. 2008) (holding that HAVA’s identical



4      In light of this order, the Board’s counsel has advised county boards that they cannot
       register new voter applicants who fail to provide a drivers license or social security
       number and who also fail to “state in writing that they lack these numbers.” Email
       of Paul Cox, N.C. State Bd. of Elections, to Directors of County Bds. of Election
       (Sept. 4, 2024) [App. 167-68].
5      Strangely, the State Board cited the provisions of HAVA—which govern federal
       elections, e.g., 52 U.S.C. § 21081(a)—rather than the similar provisions found in
       North Carolina law—which govern this state election. See App. 55.


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requirements “impos[e] additional restrictions on those individuals who registered by mail

before they can vote either a regular or a provisional ballot”). Again, to be registered, a

person must first provide a drivers license or social security number. See N.C. Gen. Stat.

§ 163-82.4(a)(11). A statute that places an additional obligation on a voter who is registered

(by mail) cannot be a “cure” for somebody who failed to register properly.

       Moreover, subsections (a) and (b) cannot be a cure for somebody who failed to pro-

vide a drivers license or social security number because the additional documentation re-

quired by these subsections is not a substitute for providing a drivers license or social secu-

rity number. At the time of registration, the State Board is supposed to verify the identity

of the registrant by matching the registrant’s drivers license or social security number to

other government databases. See id. § 163-82.12(6), (8), (9). And if the drivers license or

social security numbers don’t result in a match, the Board must take additional steps to

verify the applicant’s identity. Id. § 163-166.12(d). 6 In contrast, subsections (a) and (b) let

a registered voter provide any of the following documents: current and valid photo identi-

fication, a current utility bill, bank statement, government check, paycheck, or other gov-

ernment document showing the voter’s address. Id. § 163-166.12(a)-(b). The mere presen-

tation of those documents is not the equivalent of an identity match with government data-

bases. They are apples and oranges. The people who cast the ballots at issue here never



6      Subsection (d) can’t carry the weight Justice Riggs wishes to put on it. It only applies
       to people who actually provided these digits when they registered to vote, and Judge
       Griffin is not challenging such voters—he’s only challenging voters who never pro-
       vided either number.


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went through that verification procedure, and the fact that they might have provided addi-

tional documents when they voted does nothing to remedy the registration defect.

       This is also why Justice Riggs was wrong to argue to the State Board that the unlaw-

ful registrants cured their registration defects when they presented a photo identification

in 2024. See generally id. § 163-166.16. This theory fails for at least two reasons. First, alt-

hough voter identification laws were in place in 2024, the laws allowed a plethora of alter-

native forms of photo identification (e.g., student, teacher, and tribal identification cards)

and even permitted voters to provide no identification at all in certain circumstances. See id.

§ 163-166.16(a), (d). Second, photo identification guards against voter impersonation (i.e.,

an imposter claiming to be a person who is a registered voter); it does not guard against

somebody registering by manufacturing a fake identity. Absent a drivers license or social

security number, the State Board simply cannot verify the identity of somebody registering

to vote. Photo identification requirements are not a substitute for providing a drivers license

or social security number.7

       Nor did the General Assembly provide that these provisions can cure an improper

voter registration. The General Assembly has decided that there is precisely one way to

cure an improper registration. Id. § 163-82.4(f). The individuals challenged by Judge




7      Indeed, even if a voter provided a drivers license when voting, see id. § 163-
       166.16(a)(1)(a), the poll worker simply looked at the picture and handed the voter a
       ballot. The poll worker certainly did not write down the drivers license number, turn
       the number over to the State Board, and wait for the State Board to perform a match
       against government databases.


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Griffin did not use this statutory cure process. The State Board doesn’t have the authority

to reinvent state law to create its own “cure” procedures. It has a duty to follow state law,

not make law.

       D.       Judge Griffin’s protests do not implicate federal election laws.

       The State Board plainly rejected Judge Griffin’s interpretation of state laws and,

therefore, dismissed his protests on that basis alone. However, as an alternative ground for

the Board’s outcome, the Board attempted to inject federal law—the Help America Vote

Act (HAVA) and the National Voter Registration Act (NVRA)—into a state-law election

issue. App. 54-57. But HAVA and the NVRA have nothing to do with this case.

                1.    HAVA has no bearing on state elections.

       Judge Griffin has protested ballots cast in a state election by people who sought to

register in violation of state law, as the above discussion showed. The State Board, however,

attempts to rely on HAVA as justification for flouting state law. Invoking HAVA makes no

sense here because HAVA does not apply to elections for state offices, as this Court has

held. James, 359 N.C. at 268, 607 S.E.2d at 643 (“HAVA, which does not apply to state and

local elections, was initiated in the wake of allegations of irregularity and fraud in the 2000

presidential election.” (emphasis added)). The plain language of HAVA leaves no doubt.

The registration systems mandated by HAVA apply only to “an election for Federal of-

fice.” 52 U.S.C. § 21081(a); id. § 21083(A)(1)(a)(viii). Thus, no one can claim a HAVA

violation related to an election for state office. James, 359 N.C. at 268, 607 S.E.2d at 643.

As in James, the issue is controlled by “state law.” Id.



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              2.      The NVRA has no bearing on votes counted in state elections.

       The State Board also reasons that, as an alternative basis for its ruling, the NVRA

prohibits Judge Griffin’s election protests. See App. 62-64. But the NVRA has nothing to

do with this case because this federal law doesn’t apply to elections for state offices, nor

does it apply to election protests.

       The NVRA, by its own terms, applies only to elections for federal offices and not

elections to state offices. The stated purpose of the law is just to affect participation in

“elections for Federal office.” 52 U.S.C. § 20501(b)(1)-(2). Indeed, Congress enacted the

NVRA under the federal constitution’s elections clause, and that clause, by its own terms,

only lets Congress regulate the “Times, Places, and Manner” of selecting Senators and

Representatives to Congress. U.S. Const. art. I, § 4, cl. 1.8

       That’s equally true of the particular provision cited by the Board. In its order, the

State Board explains that the NVRA “restricts the removal of voters from ‘the official list

of eligible voters’ in an election.” App. 62 (quoting 52 U.S.C. § 20507(a)(3)). The State

Board knowingly omitted that these restrictions apply “to voter registration for elections




8      If the NVRA purported to regulate elections for state offices—which it doesn’t—
       then it would exceed Congress’s authority under the federal constitution’s election
       clause. Many courts have therefore acknowledged the only reasonable conclusion
       from the text of the NVRA: it cannot apply when the argument is about an election
       to a state office. See, e.g., Dobrovolny v. Nebraska, 100 F. Supp. 2d 1012, 1028 (D.
       Neb. 2000); Broyles v. Texas, 618 F. Supp. 2d 661, 691 (S.D. Tex. 2009), aff’d, 381
       F. App’x 370 (5th Cir. 2010); Pree v. D.C. Bd. of Elections & Ethics, 645 A.2d 603,
       605 (D.C. 1994). Thus, no one can complain about NVRA issues in a state election.


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for Federal office.” 52 U.S.C. § 20507(a) (emphasis added). Judge Griffin did not stand

for election to a federal office.

       Relying on the NVRA presents another threshold problem: the statute applies only

to state efforts to remove voters from the voter rolls. 52 U.S.C. § 20507(a)(3), (c). But

Judge Griffin has not requested in his protests for anyone to be removed from the voter

rolls. Indeed, his election protest challenges only the outcome of his election—it doesn’t

even affect an ineligible voter’s vote in another race in 2024 elections, much less cause that

voter to be removed from the voter rolls.

       As explained below, the function of an election protest is to challenge the results of

an election, not to remove anyone from the voter rolls. See infra Argument § IV.A. By law,

a successful election protest does not result in anyone being removed from the voter rolls.

Instead, it results in inaccurate results being corrected, or vote being recounted. N.C. Gen.

Stat. § 163-182.10(d)(2)(e)(1)-(2). As Bouvier explained, “[w]here the irregularity affects

the accuracy of the election results, the county board of elections may order the ineligible

ballots excluded from the vote total, and in some instances, may order a full recount.” 386

N.C. at 4, 900 S.E.2d at 843.

               3.     The issues raised in Judge Griffin’s protests have not been de-
                      cided by the federal courts’ rulings in the ongoing RNC case.

       To buttress its attempt to inject HAVA and the NVRA into a state-election dispute,

the State Board sought to manufacture connections between Judge Griffin’s protests and

Republican National Committee v. North Carolina State Board of Elections, No. 5:24-cv-547




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(E.D.N.C.) (the “RNC case”), which is a case pending in U.S. District Court for the East-

ern District of North Carolina. See App. 57. The State Board reasoned that the federal

courts in the RNC case have already resolved Judge Griffin’s claims here. The Board is

wrong.

       Before the 2024 general election, the RNC filed a two-count complaint against the

State Board in state court. Count one sought a writ of mandamus directing the State Board

to comply with HAVA and its analogous state-law provision. Count two alleged that the

State Board violated the equal protection clause of the North Carolina Constitution

through violations of HAVA. The gravamen of RNC’s request for relief was to remove

certain ineligible voters from the voter rolls ahead of the election.

       After the State Board and NCDP removed the case to federal court, the federal dis-

trict court dismissed the first count on the grounds that the relevant statutes didn’t provide

for a private right of action. The district court then declined to exercise supplemental ju-

risdiction over the second count (the state constitutional claim) and remanded it to state

court. The Fourth Circuit, though, reversed the district court’s remand order, holding that

the state constitutional claim contained an embedded federal question related to HAVA

and the NVRA, over which the district court had jurisdiction. The case is still pending.

       Critically, the RNC case, according to the Fourth Circuit, was about the interplay

between federal and state law as they apply to the state’s maintenance of voter rolls. The

RNC case did not involve a request to correct a vote count in a state race based on a




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violation of state law—which is what Judge Griffin does in this case. The rulings in the

RNC case did not consider, much less adjudicate, any of the questions presented here.

II.    The Boards of Election Cannot Count the Votes of People Who Have Never
       Lived Here.

       Although United States citizenship may be a birthright, the right to vote in North

Carolina elections for state offices is not. Instead, it is a right granted only to those who

reside here. Our state constitution restricts voting rights to people who reside in North

Carolina “to preserve the basic conception of a political community.” Lloyd v. Babb, 296

N.C. 416, 449, 251 S.E.2d 843, 864 (1979). That is why, just months ago, this Court con-

firmed that “nonresidents” are “categorically ineligible to vote” for state offices. Bouvier,

386 N.C. at 4 n.2, 900 S.E.2d at 843 n.2.

       Yet people voted in the 2024 general election who, by their own admission, were

born overseas and have never resided in North Carolina or anywhere else in the United

States. These overseas voters are United States citizens, but they aren’t residents of North

Carolina who can vote for state contests. It’s unlawful to count the votes of these Never

Residents.

       A.     The state constitution forbids counting the votes of Never Residents.

       The North Carolina Constitution defines the political community for purposes of

voting in our elections. No one can vote in a state election unless they meet the “qualifica-

tions” in article VI of the constitution. N.C. Const. art. VI, § 1. The constitution then sets

out the first of the qualifications in the voter residency clause. Under that clause, to vote in




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an election for a state office, a person must have “resided in the State of North Carolina

for one year . . . next preceding an election.” Id. § 2(1). This requirement is nothing new.

In our original constitution, a person could vote for a legislator only in the county in which

he “reside[d].” See N.C. Const. of 1776, art. VIII.

       Despite the constitution’s plain language, the election boards permitted people to

vote in the general election who have never resided in North Carolina or anywhere else in

the United States. The State Board, in response to a public records request, identified over-

seas voters who voted in the 2024 general election but who self-identified as having never

lived in the United States. App. 1736-37 ¶¶ 10-13. The Board identified a list of voters who,

the Board explained, checked a box on a federal post card application that stated, “I am a

U.S. citizen living outside the country, and I have never lived in the United States.” App.

1736-37, 1741 (sample FPCA).

       Someone who has never lived in the United States has never resided in North Car-

olina. These people, therefore, were not qualified to vote in our state elections under the

voter residency clause. Yet the State Board chose to count their votes anyway. That was

unlawful.

       B.     The residency clause is not preempted by the federal constitution.

       Proponents of Never Resident voting have argued that our state constitution violates

the federal constitution. But this broadside attack on the state constitution cannot prevail.

       In Dunn v. Blumstein, the U.S. Supreme Court considered whether a one-year dura-

tional residency requirement, as a prerequisite to registering to vote, violated the equal



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protection clause of the Fourteenth Amendment. 405 U.S. 330, 334 (1972). The Court held

that a one-year residency requirement was too long to comply with the equal protection

clause. Id. at 334. In so holding, the Court made clear that it was not ruling on whether

Tennessee could “restrict the vote to bona fide Tennessee residents.” Id. Indeed, the

Court emphasized that its prior precedent had already established the constitutionality of

“bona fide residence requirements.” See id. at 343-44.

       This Court has since considered the impact of Dunn on the residency requirement

of our own state constitution and explained that Dunn drew a “careful distinction . . . be-

tween durational residence requirements and bona fide residence requirements.” Lloyd,

296 N.C. at 439, 251 S.E.2d at 858. Therefore, “[a]ppropriately defined and [u]niformly

applied bona fide residence requirements are permissible” under the federal constitution.

Id. at 440, 251 S.E.2d at 859. And just a few months ago, this Court confirmed that “non-

residents” are “categorically ineligible to vote” under the residency clause of the state con-

stitution. Bouvier, 386 N.C. at 4 n.2, 900 S.E.2d at 843 n.2 (citing N.C. Const. art. VI, §§ 1-

2).

       As these cases show, Dunn does not invalidate the state constitution’s bona fide res-

idency requirement. The voters at issue with this protest have told the election boards that

they have never resided in North Carolina or anywhere else in the United States. They’ve

never been bona fide state residents. Therefore, counting the votes of Never Residents vi-

olates the North Carolina Constitution.




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       C.      If UMOVA permits these votes to be counted, it is unconstitutional as
               applied to these circumstances.

       The State Board turned to a state statute, UMOVA, to justify Never Resident vot-

ing. Of course, if the statute permits voting by those ineligible to vote under the constitu-

tion, it violates the constitution. UMOVA, therefore, should not be read to conflict with

the state constitution.

       In 2011, the General Assembly enacted the Uniform Military and Overseas Voters

Act (UMOVA). N.C. Sess. Law 2011-182 (enacting N.C. Gen. Stat. §§ 163-258.1 to -

258.20). As the name suggests, this bill was originally drafted by the Uniform Law Com-

mission, which recommended its adoption among the states.

       UMOVA lets a “covered voter” register to vote in various ways for elections for

federal and state offices. See N.C. Gen. Stat. § 163-258.3 (defining elections covered by

UMOVA); id. § 163-258.6 (setting out methods of registration). At issue is who counts as

a “covered voter.” The relevant definition is provided here in full:

            (1) “Covered voter” means any of the following:

               a. A uniformed-service voter or an overseas voter who is registered
               to vote in this State.

               b. A uniformed-service voter defined in subdivision (7) of this sec-
               tion whose voting residence is in this State and who otherwise sat-
               isfies this State’s voter eligibility requirements.

               c. An overseas voter who, before leaving the United States, was
               last eligible to vote in this State and, except for a State residency
               requirement, otherwise satisfies this State’s voter eligibility re-
               quirements.




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              d. An overseas voter who, before leaving the United States, would
              have been last eligible to vote in this State had the voter then been
              of voting age and, except for a State residency requirement, other-
              wise satisfies this State’s voter eligibility requirements.

              e. An overseas voter who was born outside the United States, is
              not described in sub-subdivision c. or d. of this subdivision, and,
              except for a State residency requirement, otherwise satisfies this
              State’s voter eligibility requirements, if:

                  1. The last place where a parent or legal guardian of the voter
                  was, or under this Article would have been, eligible to vote be-
                  fore leaving the United States is within this State; and

                  2. The voter has not previously registered to vote in any other
                  state.

Id. § 163-258.2(1).

       Judge Griffin is challenging ballots cast by overseas voters who identified themselves

as United States citizens who have never resided in the United States. Such voters could

only plausibly count as UMOVA “covered voters” under subsection (1)(e).

       UMOVA doesn’t define the phrase “State residency requirement” that such a

voter needs to comply with. The term is not defined anywhere in the Act. As it stands, the

phrase is ambiguous as to whether it means a durational residency requirement or a bona

fide residency requirement. If the ambiguous phrase were interpreted to mean just a dura-

tional residency requirement, it’s possible that UMOVA would, at least in some circum-

stances, be constitutional under the residency clause, as that clause is limited by Dunn. But

if, on the other hand, the ambiguous clause were interpreted to let someone vote who has

never been a resident, it would be unenforceable under the bona fide residency requirement

of the state constitution.


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       The canon of constitutional avoidance requires the Court to interpret N.C. Gen.

Stat. § 163-258.2(1)(e) as exempting overseas voters only from a durational residency re-

quirement, and not a bona fide residency requirement. Only such an interpretation could

save the statute from being invalidated. “[W]here one of two reasonable constructions will

raise a serious constitutional question, the construction which avoids this question should

be adopted.” N.C. State Bd. of Educ. v. State, 371 N.C. 149, 160, 814 S.E.2d 54, 62 (2018)

(quoting In re Arthur, 291 N.C. 640, 642, 231 S.E.2d 614, 616 (1977)).

       Before the State Board, Judge Griffin asked the Board to apply the canon of consti-

tutional avoidance to this subsection of UMOVA. But the State Board just misconstrued

that as a request to find the provision unconstitutional. App. 66. The State Board held that

it was incompetent to hold a state statute unconstitutional. App. 68-69. The Board then

decided to opine on the constitutional question anyway, stating in one sentence that, if this

subsubsection of UMOVA violated the state constitution, then the federal constitution’s

doctrine of substantive due process would reinstate the state law. App. 69. The theory ap-

pears to be that applying our state constitution to this election would be applying a “newly

announced rule of law.” App. 62. The Board, however, has confused the chronology. The

residency requirement in the state constitution has existed and persisted since the Revolu-

tionary War. UMOVA was enacted 235 years later. Not exactly a new rule of law.

       Even setting aside the statute of constitutional avoidance, if the Court does not be-

lieve section 163-258.2(1)(e) is reasonably susceptible to Judge Griffin’s proposed interpre-

tation, then the Court should refuse to enforce the statute as it applies to Never Residents.



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When “there is a conflict between a statute and the Constitution, this Court must deter-

mine the rights and liabilities or duties of the litigants before it in accordance with the Con-

stitution, because the Constitution is the superior rule of law in that situation.” In re Chas-

tain, No. 283A22-2, 2024 WL 5100940, at *6 (N.C. Dec. 13, 2024) (Riggs, J.) [App. 128].

And the constitution is clear: only bona fide residents can vote for state offices.9

       D.     This argument has no impact on votes cast for federal elections, military
              voters, or North Carolina residents living overseas.

       To be clear, Judge Griffin is not challenging the votes of military voters, nor is he

challenging any vote cast for federal contests.

       Judge Griffin was not a candidate for federal office. And federal statutory law, which

imposes duties on states for uniformed services voters and other overseas voters, applies

only to “elections for Federal office.” See 52 U.S.C. § 20302(a). Besides, it’s highly un-

likely the Never Residents includes servicemembers, because these are people who were

born abroad and have never lived anywhere in the United States.10



9      This argument is not required to be decided by a three-judge panel in superior court.
       First, UMOVA can and should be interpreted not to permit Never Resident voting.
       Second, this is not a facial challenge to UMOVA but is at most an as-applied chal-
       lenge. Even accepting the Board’s interpretation of UMOVA, Judge Griffin is chal-
       lenging only a small subset of UMOVA-covered voters, and he’s not seeking relief
       “far beyond the particular circumstances” of this election protest. Singleton v. N.C.
       Dep’t of Health & Hum. Servs., 906 S.E.2d 806, 808 (N.C. 2024). Finally, an appel-
       late petition never requires transfer. Transfer is appropriate only if the “com-
       plaint,” “answer,” or “responsive pleading” contains a facial challenge to a state
       statute. N.C. R. Civ. P. 42(b)(4). This filing is none of those things.
10     Because this case does not involve an election for a federal office, other provisions
       of the state constitution are not implicated. Article VI of the North Carolina Consti-
       tution lets the General Assembly reduce the residency requirement, but such short-


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       UMOVA also distinguishes between, on one hand, uniformed-service voters and

overseas voters who have resided in this state, N.C. Gen. Stat. § 163-258.2(1)(a)-(d), and,

on the other hand, overseas voters who were born abroad and have never resided in this

state, id. § 163-258.2(1)(e). Judge Griffin has challenged the votes of this latter group only.

       Anyway, a servicemember who previously resided in North Carolina but is deployed

overseas does not lose his North Carolina residency. Unless a servicemember leaves the

state and intends never to return, he remains a resident of the state. See Lloyd, 296 N.C. at

444, 251 S.E.2d at 861 (student who leaves for college becomes resident at the place of his

college unless he intends to return to his former home after graduation). Unless the ser-

vicemember has “abandoned” his home in North Carolina, he remains a resident here for

voting purposes. Id. at 449, 251 S.E.2d at 864. By contrast, the Never Residents never had

a home in North Carolina that they could abandon.

       E.     Residency isn’t inheritable under the state constitution’s voter qualifi-
              cations.

       Justice Riggs has argued that Never Residents inherit the residences of their parents.

She analogizes to the law of domiciliary for infants. Yet the analogy crumbles upon inspec-

tion because infants can’t vote. N.C. Const. art. VI, § 1 (voting rights limited to those at

least “18 years of age”). Unlike an infant, an 18-year-old chooses where he resides. If he

wishes to become a member of North Carolina’s political community, he must decide, as




       term residents can only vote for president and vice president. N.C. Const. art. VI,
       § 2(2).


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an adult, to reside in North Carolina. Otherwise, he is not a member of our political com-

munity entitled to vote. There is no such thing as “birthright residency” for purposes of

voting in our state.

       Inherited voting rights also make no sense when applied to the circumstances of the

Never Residents. Under Justice Riggs’ theory, a child’s residence or domicile is the same

as his parents. But recall that the Never Residents were born abroad and have never lived

in the United States. That means that the parents of the Never Residents have been abroad

for all eighteen years of the Never Resident’s childhood. But a person can only establish

residency in a place in which they have actually lived. When the Never Resident turned 18,

his residence was where his parents had set up their international abode. Wherever that

was, it wasn’t in North Carolina.

       By its own terms, UMOVA doesn’t care whether the Never Residents’ parents set

up a fixed habitation somewhere abroad. Instead, it ascribes to the parent a North Carolina

residency, even when the parent has settled down in a foreign country eighteen years ago.

See N.C. Gen. Stat. § 163-258.2(1)(e). Justice Riggs argues that this is constitutional be-

cause the legislature can ascribe a fictional residency to a person by statute. That is true

when the residency matters for other statutory or common law purposes. But the legislature

is powerless to rewrite the meaning of “residency” as it’s set out in the North Carolina

Constitution. The ratifiers of our constitution would not have imposed a residency require-

ment in our charter of government just so the legislature can override it. The word “resi-

dency” continues to carry the original public meaning that it has carried through our state’s



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history. To suggest that the legislature could ignore this meaning or change it by statute is

an affront to judicial review. Bayard v. Singleton, 1 N.C. (Mart.) 5 (1787); Marbury v. Mad-

ison, 5 U.S. (1 Cranch) 137, 177-78 (1803).

                                      *         *      *

        The original public meaning of “residency” as used of voting rights in our constitu-

tion has always required the would-be voter to, at a minimum, live in North Carolina. That

commonsense requirement of physical presence cannot be eliminated by statute. It is fun-

damental to the identity of our political community, and our constitution does not let the

General Assembly change our community by granting voting rights to Never Residents.

UMOVA doesn’t do that because doing so would be unconstitutional.

        If the Board counts the votes of people who have never been members of our political

community, it will violate our state constitution. That harms not only Judge Griffin, but

also the true members of our state’s political community.

III.    Overseas Voters Who Did Not Provide Photo Identification Cannot Cast a Bal-
        lot in State Elections.

        The final category of protests before the State Board involved ballots cast by over-

seas voters more generally. State law requires these voters to submit photo identification

along with their absentee ballots, just like all other voters. But the State Board decided to

accept overseas absentee ballots without accompanying identification, in violation of state

law.




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       A.     Article 21A, which governs overseas absentee voters, incorporates Arti-
              cle 20’s requirements for absentee voters.

       Subchapter VII of Chapter 163 of the General Statutes contains the requirements

for all types of absentee-ballot voting in North Carolina. Article 20 of that subchapter sets

out the general rules for absentee voting. See N.C. Gen. Stat. §§ 163-226 to -239. Article

21A (which is UMOVA) layers on additional rules for absentee voting by military and over-

seas voters. See id. §§ 163-258.1 to -258.31. The general absentee voting provisions of Arti-

cle 20 apply to overseas absentee voting under Article 21A, and not vice versa. Section 163-

239 states, “Except as otherwise provided therein, Article 21A of this Chapter [for overseas

absentee voting] shall not apply to or modify the provisions of this Article [20].”

       One of the key provisions of Article 20 is the requirement of photo identification for

absentee voting. N.C. Gen. Stat. § 163-230.1(a)(4), (b)(4), (e)(3), (f1). These provisions

equalize the burden of voting: both in-person voters and absentee voters must show photo

identification to cast a ballot. See id. § 163-166.16(a) (requiring photo identification for in-

person voting); N.C. Const. art. VI, §§ 2(4), 3(2) (same). The General Assembly first en-

acted UMOVA in 2011 to regulate absentee ballots cast by overseas voters. See N.C. Sess.

Law 2011-182. The General Assembly then added legislation to require photo identification

for absentee ballots. See, e.g., N.C. Sess. Law 2019-239, § 1.2(b). When it did so, it did not

exempt overseas voters. If our legislature intended to exempt overseas absentee voters from

the photo identification requirement, it would have said so explicitly.




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       But overseas voters are not exempt from this equalization requirement and must

provide photo identification to vote. All absentee ballots—cast under either Article 20 or

Article 21A—must be transmitted to the relevant county board of elections by placing it in

a “sealed container-return envelope.” N.C. Gen. Stat. § 163-231(b)(1). This reference to a

sealed container-return envelope applies expressly to absentee ballots cast under both Ar-

ticles 20 and 21A. To understand what an overseas voter must put in the “sealed container-

return envelope,” the voter must look at the requirements under Article 20, since Article

21A does not answer the question. See id. §§ 163-258.1 to -258.31.

       Article 20 is clear that the “sealed container-return envelope” exists, in part, to hold

the photo identification of all absentee ballots. The container-return envelope must contain

a valid photo identification: “Each container-return envelope returned to the county board

with application and voted ballots under this section shall be accompanied by a photocopy

of identification . . . .” Id. § 163-230.1(f1). The failure to include a photo identification in

the container-return envelope is a curable deficiency, but only if the proper identification

is received the day before the county canvass. Id. § 163-230.1(e). None of the challenged

ballots were cured.

       Even at a more general level, absentee ballots cast both within and without the

United States (Article 20 and Article 21A absentee ballots) are generally treated alike and

are all considered absentee ballots:




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             “The county board shall report ballots cast during early voting under Part 5

              of Article 14A of this Chapter separately from mail-in absentee ballots cast

              under Article 20 or 21A of this Chapter.” Id. § 163-132.5G(a1)(4).

             “The sealed container-return envelope in which executed absentee ballots

              have been placed shall be transmitted to the county board of elections who

              issued those ballots as follows . . . All ballots issued under the provisions of

              this Article and Article 21A of this Chapter shall be transmitted by one of the

              following means . . . .” Id. § 163-231(b).

             The lawful procedure for counting absentee ballots cast under both Article

              20 and Article 21A are set out in Article 20. Id. § 163-234.

       B.     Nothing in Article 21A excuses overseas voters from providing photo
              identification.

       The State Board reasoned that Article 21A excused overseas voters from providing

photo identification because section 163-258.17(b) established the exclusive means to au-

thenticate the identity of the voter. App. 70-71. But subsection (b) says no such thing.

       That subsection states that the lone “authentication” required “for execution of a

document” for overseas voters are the declarations permitted for overseas voters. N.C. Gen.

Stat. § 163-258.17(b) (emphasis added); see id. § 163-258.4 (describing declaration that

acknowledges misstatements are grounds for perjury). Subsection (b) cannot exempt an

overseas voter from the photo-identification requirement because photo identification is

not the “authentication” of a document—it’s the authentication of the voter’s identity.




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This conclusion is easily confirmed by looking at Article 20. Similar to section 163-

258.17(b)’s authentication requirement, Article 20 also requires absentee ballots to be au-

thenticated by notarization or a witness. See id. § 163-231. Notably, the photo identification

requirement is an entirely separate requirement found in another statute within Article 20.

Id. § 163-230.1. Why? Because photo identification is not an “authentication” of a docu-

ment.

        Justice Riggs argued to the Board that Article 21A prohibits a photo identification

requirement because section 163-258.17(a) permits the counting of improper ballots cast by

overseas voters if the ballots are missing “nonessential” information. Id. § 163-258.17(a).

The statute gives examples of nonessential requirements that can be ignored: failing to use

“paper or envelopes of a specified size or weight.” Id. Photo identification is a material

requirement; it isn’t “nonessential.” Anyone suggesting that photo identification is imma-

terial must have missed the last decade and a half of legislation, litigation, and constitutional

amendments surrounding photo identification. Notably, the Board declined to adopt Jus-

tice Riggs’ argument.

        C.     The fact that the Board issued a rule excusing overseas voters from
               providing photo identification does not immunize the Board’s decision
               from judicial review.

        The State Board also defended its decision to excuse overseas voters from the photo-

identification requirement on the grounds that the Board had already issued a rule saying

so. App. 73-74 (citing 8 N.C. Admin. Code 17.0109(d)). But the General Assembly never

delegated to the State Board the power to make the major policy decision of whether to



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require photo identification from a class of voters. Photo identification was a decision made

by the legislature (and even the voters, through a constitutional amendment).

       Indeed, the delegation of such an important question would be unconstitutional. An

administrative agency cannot be “asked to make important policy choices which might just

as easily be made by the elected representatives in the legislature.” Adams v. N.C. Dep’t of

Nat. & Econ. Res., 295 N.C. 683, 697-98, 249 S.E.2d 402, 411 (1978). If such legislative

power could be delegated, it would be “delegation running riot.” A.L.A. Schechter Poultry

Corp. v. United States, 295 U.S. 495, 553 (1935) (administrative delegation held unconstitu-

tional under non-delegation doctrine); see also State v. Harris, 216 N.C. 746, 6 S.E.2d 854,

860 (1940) (same).

       As the Supreme Court of the United States has observed, when an administrative

agency makes an extraordinary claim of authority with “political significance,” that gives

courts a “reason to hesitate” before concluding that the legislature meant to confer the

claimed authority. West Virginia v. EPA, 597 U.S. 697, 721 (2022). Under the major ques-

tions doctrine, courts recognize that the legislature does not “hide elephants in mouse-

holes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001) (Scalia, J.). “[S]epara-

tion of powers principles” caution against such unrestrained readings of administrative au-

thority. West Virginia, 597 U.S. at 723.

       There is no textual indication that the General Assembly ever intended for the State

Board to decide whether to require photo identification for any kind of voter, much less




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overseas voters. And even if there were some “colorable textual basis,” id., the major ques-

tions doctrine would caution the Court to interpret the statutes against a delegation.

       The rule would also collapse under the state constitution. If voters are to be treated

differently, there must be a rational basis for differential treatment. See N.C. Const. art. I,

§ 19 (“No person shall be denied the equal protection of the laws . . . .”); Lloyd, 296 N.C.

at 439, 251 S.E.2d at 858 (“[A] citizen has a constitutionally protected right to participate

in elections on an equal basis with other citizens in the jurisdiction.” (quoting Dunn, 405

U.S. at 336); N.C. Bar & Tavern Ass’n v. Cooper, 901 S.E.2d 355, 373 (N.C. Ct. App.), review

allowed, 901 S.E.2d 232 (N.C. 2024); Askew v. City of Kinston, 906 S.E.2d 500, 507 (N.C.

Ct. App. 2024). But there is no legitimate reason to impose a greater burden—photo iden-

tification—on those living in North Carolina than is imposed on those living abroad. There

is no reason to think that the General Assembly intended that bizarre, differential treat-

ment, which could violate the state constitution’s equal protection clause.

       D.     Federal law has no bearing on the photo-identification requirement.

       Because state law offered by the State Board provides no refuge, the Board also

sought to intertwine its reasoning with federal law, citing 52 U.S.C. § 20302. App. 74-76.

But, as with HAVA and the NVRA, federal law has no application here. The statute on

which the Board relies, by its own terms, only applies “elections for Federal office.” E.g.,

52 U.S.C. § 20302(a)(1)-(3), (6)-(8), (b)(1), (c).




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                                         *      *      *

       Ultimately, it would make no sense to require photo identification for voters present

in the United States, but not for overseas voters. The General Assembly did not require

photo identification for one category of voter and not the other. Rather, everyone voting in

a North Carolina election, whether voting in person or by any kind of absentee ballot, must

submit a photo identification to vote.

       Therefore, these absentee ballots, submitted under Article 21A, cannot be counted

for the contests that are the subject of these election protests.

IV.    The State Board Manufactured Procedural Defects.

       To reject Judge Griffin’s protests, the State Board not only misconstrued North

Carolina law, it also tried to disqualify the protests on procedural technicalities. It is clear,

however, that Judge Griffin’s protests complied with all relevant procedural requirements.

       A.      The protests should not have been filed as voter challenges.

       The Board reasoned that it should dismiss the protests because they were untimely

voter challenges. App. 64-66. But the State Board had already rejected its own argument in

2016, and this Court said the same thing earlier this year.

       In 2016, an election protest was filed by the Pat McCrory campaign in the governor’s

race, challenging the eligibility of certain voters to cast ballots in that election. Bouvier, 386

N.C. at 5-6, 900 S.E.2d at 843-44. McCrory’s opponent, Roy Cooper, argued that the pro-

tests should be dismissed because they merely challenged the eligibility of certain voters,

and therefore should have been brought as voter challenges instead. See Bouvier v. Porter,



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279 N.C. App. 528, 542, 865 S.E.2d 732, 741-42, rev’d in part and remanded, 386 N.C. 1,

900 S.E.2d 838 (2024); In re Consideration of Certain Legal Questions Affecting the Authenti-

cation of the 2016 General Election (N.C. State Bd. of Elections Nov. 28, 2016) [App. 344-

45].

        The State Board rejected Cooper’s argument. App. 334-45. In an order on Cooper’s

request to dismiss the protests, the Board explained that an election protest “must prove

the occurrence of an outcome-determinative violation of election law, irregularity, or mis-

conduct.” App. 344 ¶ 3. Although an election protest “may not merely dispute the eligibil-

ity of a voter,” an election protest may challenge a voter’s eligibility if the “claims regard-

ing the eligibility of certain voters” are presented “as evidence that an outcome-determi-

native violation of election law, irregularity, or misconduct has occurred.” App. 345 ¶ 5.

Thus, an election board may “discount a ballot cast by an unqualified voter” if an election

protest shows “that ineligible voters participated in number sufficient to change the out-

come of the election.” App. 345 ¶ 7.

        The McCrory election protest spun off collateral litigation that wound up at this

Court as Bouvier v. Porter, 386 N.C. 1, 900 S.E.2d 838 (2024). One of the issues in Bouvier

continued to be whether an election protest can challenge the eligibility of certain voters.

The Court affirmed the logic of the Board’s 2016 order, explaining that “an election protest

may address any ‘irregularity’ or ‘misconduct’ in the election process, including the count-

ing and tabulation of ballots cast by ineligible voters.” Id. at 4, 900 S.E.2d at 843 (citations

omitted). Such ineligible voters, who could be targeted by an election protest, include



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“nonresidents,” who are “categorically ineligible to vote.” Id. at 4 n.2, 900 S.E.2d at 843

n.2. It also includes people who are not “‘legally registered’ to vote.” Id. (quoting N.C.

Gen. Stat. § 163-54).

       The Board’s final decision on Judge Griffin’s protests made no effort to reconcile

its reasoning with its prior 2016 order or Bouvier. It is but another example of the State

Board ignoring the law and exercising power untethered to principle.

       B.     The Board wrongly dismissed the protests for lack of service.

       Before addressing the merits of the three categories of protests, the State Board al-

ternatively dismissed Judge Griffin’s protests because he did not properly serve the pro-

tests on affected voters. The State Board’s ruling is wrong because (1) the Board does not

have statutory authority to impose a service obligation on protestors and (2), even if it did,

Judge Griffin’s service satisfied the Board’s service demands.

       The State Board promulgated a protest template that includes a demand that pro-

testors “must serve copies of all filings on every person with a direct stake in the outcome

of this protest.” 8 N.C. Admin. Code § 02.0111 (the protest-form template). The service

can be accomplished by “transmittal through U.S. Mail” and has to “occur within one (1)

business day” of filing a protest. Id.

       First, there is no statutory authority for the Board to force protestors to serve copies

of protests on affected parties. The State Board claims that it can compel protestors to serve

parties because the Board has the power to “prescribe forms for filing protests.” App. 43-

44 (citing N.C. Gen. Stat. § 163-182.9(c)). But the power to merely create a template for a



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protest does not include the power to burden protestors with providing notice to affected

parties. That is especially so when the protest statutes explicitly burden someone else with

the duty to provide notice to affected parties: the county boards. See N.C. Gen. Stat. § 163-

182.10(b). The General Assembly never authorized the State Board to outsource the county

boards’ notice obligations to protestors and then penalize those protestors for failing to do

the county boards’ jobs for them. The Board acted beyond its authority in dismissing pro-

tests on service grounds.

       Second, Judge Griffin nevertheless complied with the Board’s service demand by

mailing a postcard by U.S. First-Class Mail to over 60,000 voters at the voters’ addresses

of record. The postcard stated the following:

                                    * * * NOTICE * * *
       [[First Name]] [[Middle Name]] [[Last Name]], your vote may be affected
       by one of more protests filed in the 2024 general elections. Please scan this
       QR code to view the protests filings. Please check under the county in which
       you cast a ballot to see what protest may related to you…. For more infor-
       mation on when your County Board of Elections will hold a hearing on this
       matter, please visit the State Board of Elections’ website link found on the
       Protest Cite (via the QR code).

App. 175 (Offerman Aff., Attach. 1).

       The State Board criticized Judge Griffin’s service efforts as “junk mail” because it

was (1) a postcard that (2) didn’t announce that the protests were “challenging the voter’s

eligibility” and (3) used a QR code to provide access to the filed materials. App. 45-51. The

Board concluded that such postcards did not properly inform voters of the protests and

provide them an opportunity to object. App. 49.




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       The Board’s critique of Judge Griffin’s service efforts is misplaced. First, the State

Board cannot belittle postcards as “junk mail” when the Board itself routinely mails cards

to voters. See N.C. Gen. Stat. § 163-82.8(c) (mailing of voter registration cards); id. § 163-

82.14(d)(2) (confirming address by mailing cards). Second, the postcard states that “your

vote may be affected by one of more protests” and instructs voters to contact their county

boards for information on “a hearing on this matter.” App. 175. The postcard, thus, notifies

voters that their vote is being implicated by a legal proceeding and, appropriately, directs

them to find more information on the proceeding. Finally, the Board’s distrust of QR codes

is belied by the Board’s own use of QR codes in the “Voter Photo ID” mailers that it re-

cently distributed across the state. See N.C. State Bd. of Elections, Press Release: State Board

Launches Photo ID Educational Campaign (Feb. 13, 2024) [App. 346-49], available at

https://www.ncsbe.gov/news/press-releases/2024/02/13/state-board-launches-photo-

id-educational-campaign (visit the link “Voter Photo ID Mailer (PDF)”).11

       To be clear, the constitutional standard for notice is that it be “reasonably certain to

inform those affected.” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 315 (1950).

The standard does not demand perfection. See id. at 319 (“We think that under such cir-

cumstances reasonable risks that notice might not actually reach every beneficiary are




11     The Board’s press release boasted that its new voter ID “campaign is designed to
       reach every corner of North Carolina, including rural and urban areas, in as many ways
       as possible.” Id. (emphasis added). The Board posted the “Voter Photo ID Mailer
       (PDF)” at https://s3.amazonaws.com/dl.ncsbe.gov/Voter%20ID/Voter-ID-
       Mailer.pdf. It is available in the appendix at pages 350-51.


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justifiable.”). Moreover, Judge Griffin served over 60,000 voters. The interests of each

voter “is identical with that of a class” and, therefore, “notice reasonably certain to reach

most of those interested in objecting is likely to safeguard the interests of all, since any sus-

tained would inure to the benefit of all.” Id. Given that Judge Griffin’s service on 60,000

voters replicates the State Board’s own methods of notifying voters, the Board had no

grounds to claim his method of service was deficient.

       C.     Judge Griffin timely filed his protests.

       The Board mentions, in passing, that some of Judge Griffin’s protests might have

been untimely filed and, therefore, could be subject to dismissal. App. 6 n.4. This is base-

less. The General Statutes are explicit that only “substantial compliance” is required with

the filing deadlines for election protests; and Judge Griffin’s protests substantially com-

plied with the protest-filing deadline.

       Section 163-182.9 sets forth the requirements of an election protest. In addition to a

protest being in writing and containing certain information, the section sets forth deadlines

for filing a protest. N.C. Gen. Stat. § 163-182.9(b). “If the protest concerns an irregularity

other than vote counting or result tabulation, the protest shall be filed no later than 5:00

P.M. on the second business day after the county board has completed its canvass and de-

clared the results.” Id. § 163-182.9(b)(4)(c).

       The next statute, section 163-182.10, then dictates an elections board’s review of

whether a protest complies with these requirements. Section 163-182.10 explicitly states

that a board shall “determine whether the protest substantially complies with G.S. 163-182.9



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and whether it establishes probable cause to believe that a violation of election law or irreg-

ularity or misconduct has occurred.” Id. § 163-182.10(a)(1) (emphasis added). Therefore,

for a protest to proceed to a review of its merits, the protest must substantially comply with

the 5:00 P.M. filing deadline.

       The affidavit of Kyle Offerman establishes that all of Judge Griffin’s protests were

submitted via email to the county board before the 5:00 P.M. deadline. App. 172 (Offerman

Aff. ¶¶ 8-9). The possibility that some of these protests might have hit election officials’

inboxes a few minutes after 5:00 P.M. is irrelevant. The protests would have nonetheless

been filed in substantial compliance with the statutory filing deadline.

       North Carolina courts have, for decades, explained what is required when a statute

demands only substantial compliance with certain requirements. In such statutes, substan-

tial means “[i]n a substantial manner, in substance, essentially. It does not mean an accu-

rate or exact copy.” Graham v. Nw. Bank, 16 N.C. App. 287, 291, 192 S.E.2d 109, 112 (1972)

(cleaned up). In other words, substantial compliance with a requirement is something less

than precise satisfaction of the requirement.

       This standard of leniency is not uncommon. It also appears in litigation. For exam-

ple, the North Carolina Court of Appeals applies a substantial compliance standard to the

application of the appellate rules: “[T]his court has held that when a litigant exercises ‘sub-

stantial compliance’ with the appellate rules, the appeal may not be dismissed for a tech-

nical violation of the rules.” Pollock v. Parnell, 126 N.C. App. 358, 362, 484 S.E.2d 864, 866




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(1997). Thus, a substantial-compliance standard precludes a judicial body from dismissing

a filing for mere failure to comply with the technical rules.

       There is no doubt that a filing received by the board of elections within minutes of

the deadline in section 163-182.9 is in “substantial compliance” with the deadline. The

filing of a protest within minutes of a deadline would be “essentially” or “in substance”

complying with the deadline, even if it is not technically complying with the deadline. Un-

der section 163-182.10(a)(1), any such protest must, as a matter of law, be allowed to pro-

ceed to the merits.

V.     No Other Federal Statute Bars the Protests.

       Justice Riggs argued that additional federal statutes preclude Judge Griffin’s pro-

tests from succeeding. The Board did not address these statutes because they are irrelevant

to the protests at issue.

       A.      The Civil Rights Act does not impact the protests.

       Justice Riggs argued to the State Board that the “materiality provision” of the fed-

eral Civil Rights Act of 1964 barred Judge Griffin’s election protests based on ballots cast

by people with incomplete voter registrations. But her argument has already been rejected

by other courts.

       The Civil Rights Act’s materiality provision prohibits any “person acting under

color of law” from denying an individual’s vote due to an error or omission “if such error

or omission is not material in determining whether such individual is qualified under State

law to vote in such election.” 52 U.S.C. § 10101(a)(2)(B). The Eleventh Circuit has already



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determined that a drivers license or social security number is material in determining

whether an individual is qualified by law to vote. See Browning, 522 F.3d at 1174 n.22 (“be-

cause Congress required the identification numbers [drivers license numbers or partial so-

cial security numbers] to be on voter registration applications, they are per se material under

[the Civil Rights Act’s materiality provision]”).

       Indeed, the materiality provision only applies to the provision of “trivial infor-

mation” that serves no purpose other than “inducing voter-generated errors that could be

used to justify rejecting applicants.” Id. at 1173. The General Assembly has determined that

some information on the voter application form is immaterial and can be lawfully omitted—

like “race, ethnicity, gender, or telephone number.” N.C. Gen. Stat. § 163-82.4(a). But

drivers license and social security numbers are far from immaterial. The information at is-

sue is used to validate the identity of the applicant. Id. § 163-82.12(8), (9). Thus, the Elev-

enth Circuit described such information as “per se” material under the Civil Rights Act.

Browning, 522 F.3d at 1174 n.22. The court was skeptical that the government “would man-

date the gathering of information—indeed, that it would make that a precondition for ac-

cepting registration application—that it also deems immaterial.” Id. at 1174.

       B.     The Voting Rights Act does not impact the protests.

       At the State Board, Justice Riggs claimed that the Voting Rights Act of 1965 (VRA)

prevents the State Board from enforcing the election laws identified in Judge Griffin’s pro-

tests. That is wrong.




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       The Voting Rights Act prohibits refusing to count the vote of anyone “who is enti-

tled to vote under any provision of this Act or is otherwise qualified to vote.” 52 U.S.C.

§ 10307(a). Justice Riggs never pointed to any provision of the Act that the election protests

purportedly violate. Indeed, the enforcement provision of the VRA exists just to enforce

“the Act’s comprehensive scheme to eliminate racial discrimination in the conduct of pub-

lic elections.” Powell v. Power, 436 F.2d 84, 86 (2d Cir. 1970). Absent racial discrimination,

“the Act provides no remedy.” Id. at 87. As the U.S. Supreme Court has recently ex-

plained, the VRA is Congress’s effort to bring to “an end to the denial of the right to vote

based on race.” Brnovich v. Democratic Nat’l Comm., 594 U.S. 647, 655 (2021). No one has

ever suggested that this case involves racial discrimination—it quite obviously doesn’t. So

the Voting Rights Act is irrelevant.

VI.    The Protests Comport with Equal Protection and Substantive Due Process.

       The right to vote is fundamental. But like all fundamental rights, voting is not an

absolute right. The U.S. Supreme Court has established a test that balances the right to

vote with a state’s interest in ensuring election integrity. The protests, which seek to en-

force laws that go to the heart of election integrity, satisfy this balancing test.

       A.      The Anderson-Burdick test.

       Voting is a fundamental right. E.g., Burdick v. Takushi, 504 U.S. 428, 433 (1992).

Yet, the U.S. Supreme Court has recognized that “[t]here must be a substantial regulation

of elections if they are to be fair and honest and if some sort of order, rather than chaos, is

to accompany the democratic processes.” Storer v. Brown, 415 U.S. 724, 730 (1974).



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       The U.S. Supreme Court has established the Anderson-Burdick test to strike a bal-

ance between the right to vote and the need for fair elections. See Libertarian Party of N.C.

v. State, 365 N.C. 41, 47-48, 707 S.E.2d 199, 203-04 (2011) (discussing test). The test re-

quires that a regulation imposing a severe burden on voting be “narrowly drawn to advance

a state interest of compelling importance.” Burdick, 504 U.S. at 434 (internal quotation

marks omitted). Severe burdens are defined as invidious restrictions that “are unrelated to

voter qualifications.” Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 189 (2008).

       The test also accounts for non-severe burdens, which include “‘evenhanded re-

strictions that protect the integrity and reliability of the electoral process itself.’” Id. at 189-

90 (quoting Anderson v. Celebrezze, 460 U.S. 780, 788 n.9 (1983)). These lesser burdens are

subject to a flexible balancing standard, which “weigh[s] ‘the character and magnitude of

the asserted injury’” against “‘the precise interests put forward by the State as justifica-

tions for the burden imposed by its rule.’” Burdick, 504 U.S. at 434 (quoting Anderson, 460

U.S. at 789). Such burdens are usually justified by “a State’s important regulatory inter-

ests.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 351 (1997).

       B.      The protests do not seek to impose severe limitations on voting.

       Judge Griffin is not asking the State Borad to enforce laws that would severely bur-

den voting.

       To start, the North Carolina Constitution establishes that both lawful registration

and residency are voter qualifications. N.C. Const. art. VI, §§ 2(1), 3(1). And anybody who

wants to vote in North Carolina must be a resident and lawfully registered—no exceptions



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are allowed. Judge Griffin’s request that the State Board enforce this evenhanded pair of

voter qualifications cannot, as a matter of law, severely burden the right to vote. See Craw-

ford, 553 U.S. at 189-90.

       The third law that Judge Griffin asked the State Board to enforce (overseas voters

providing photo identification) is enshrined in the General Statutes. See supra Argument

§ III. Like registration and residency, this requirement is also evenhanded—applying to all

voters equally. Indeed, Judge Griffin filed the protest because the State Board unlawfully

exempted one demographic of voters—those living overseas—from this universal require-

ment. The U.S. Supreme Court has already concluded that reasonable photo-identification

requirements do not impose “a substantial burden on the right to vote.” Crawford, 553 U.S.

191-98.

       The State Board never mentions the Anderson-Burdick test anywhere in its order.

Rather, in discussing the incomplete-registration protests, the Board defends its dismissal

of those protests on the grounds that the individuals “did everything they were told to do

to register.” App. 57. The Board then relies on this Court’s decisions in Overton v. Mayor

& City Commissioners of City of Hendersonville, 253 N.C. 306, 116 S.E.2d 808 (1960), and

Woodall v. W. Wake Highway Commission, 176 N.C. 377, 97 S.E. 226 (1918), for the Board’s

conclusion that “error by election officials in the processing of voter registration cannot be

used to discount a voter’s ballot.” App. 59-60. But the decisions in Woodall and Overton do

not hold such. Rather, those decisions reasoned that, because registrars had a duty to issue

oaths (while voters had no obligation to take an oath), a registrar’s failure of his personal



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duty could not result in a voter being disqualified. See Overton, 253 N.C. at 315, 116 S.E.2d

at 815; Woodall, 176 N.C. 377, 97 S.E. at 232.

       Here, in contrast, a North Carolina statute imposes a duty on applicants to provide

a drivers license or social security number that validates the applicants’ identities. See N.C.

Gen. Stat. § 162-82.4(a)(11), (d), (f). The Board’s willingness to register applicants without

this information does not excuse applicants of their duty to provide it. Moreover, Woodall

and Overton cannot stand for an absolute rule that election-official errors can never result

in the disqualification of voters because the Court plainly held otherwise in James, 359 N.C.

at 270, 607 S.E.2d at 644, where the Court disqualified thousands of voters who (unlaw-

fully) voted out of precinct at the instruction of poll workers. James even cited to Burdick

to justify its result, seeing no conflict with this remedy and the Anderson-Burdick frame-

work. Id.

       Unlike in Woodall, Overton, and James, this is not an instance in which an election

official’s error prevented eligible voters from casting their ballots. This is an instance in

which, after the State Board decided to not inform individuals of certain requirements, the

individuals’ ignorance resulted in them failing to take the steps necessary to become eligible

voters. As courts have often held, “ignorance of the law is no excuse for a failure to comply

with the law.” Orange Cnty. v. N.C. Dep’t of Transp., 46 N.C. App. 350, 377, 265 S.E.2d




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890, 908 (1980). It’s not unconstitutional to require the public to be as knowledgeable of

election laws as other laws.12

       C.     The laws at issue are tailored to compelling state interests.

       But even if the Court were to find that the enforcement of the laws at issue severely

burdened the right to vote, North Carolina is well justified in enforcing these laws.

       The State has an undeniable interest in restricting voting to only those who are eli-

gible to vote, thereby ensuring that the votes of eligible voters are not diluted by ineligible

ballots. Bush v. Gore, 531 U.S. 98, 105 (2000). Indeed, counting only eligible ballots is the

ultimate means of accomplishing the State’s “compelling interest in preserving the integ-

rity of its election process.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (cleaned up). Demand-

ing that only qualified voters—those lawfully registered, residing in North Carolina, and

producing photo identification—be allowed to cast a ballot is perfectly tailored to protect-

ing eligible voters from vote dilution.

       The State’s compelling interest in election integrity also empowers the States to en-

act protections against possible voter fraud, because such protections assuage the public’s



12     Even assuming citizens could blame the State Board for their failure to become eli-
       gible to vote, human error by government employees does not automatically create
       a constitutional violation. See Pettengill v. Putnam Cnty. R-1 Sch. Dist., Unionville,
       Mo., 472 F.2d 121, 122 (8th Cir. 1973) (holding no constitutional violation absent
       “aggravating factors such as denying the right of citizens to vote for reasons of race,
       or fraudulent interference with a free election by stuffing of the ballot box, or other
       unlawful conduct which interferes with the individual’s right to vote” (citations
       omitted)); Powell, 436 F.2d at 88 (holding that neither the Equal Protection and Due
       Process Clauses of the Fourteenth Amendment “guarantee against errors in the ad-
       ministration of an election”).


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“fear [that] legitimate votes will be outweighed by fraudulent ones.” Id. Thus, the State is

justified in requiring that all voters provide photo identification as a means of identity ver-

ification. Moreover, the Anderson-Burdick standard does not demand an “elaborate, empir-

ical verification” of efforts to counteract voter fraud. Timmons, 520 U.S. at 364. Rather, the

State is free to protect against voter fraud “with foresight rather than reactively,” so long

as the protections are “reasonable” and don’t “significantly impinge” constitutional

rights. Munro v. Socialist Workers Party, 479 U.S. 189, 195-96 (1986).

       It is no longer debatable that universal photo-identification requirements are a con-

stitutionally acceptable way to guard against impersonation of registered voters. See Craw-

ford, 553 U.S. at 194-97 (Stevens, J.); see also id. at 209 (Scalia, J., concurring) (“The uni-

versally applicable requirements of Indiana’s voter-identification law are eminently reason-

able.”).

       It is equally established that North Carolina’s requirement that individuals, in order

to be qualified to vote, verify their identities via a drivers license or social security number

guards against fraudulent registrations. See Browning, 522 F.3d at 1168 (describing HAVA’s

mirror requirement for such information as being “Congress’s attempt to . . . prevent[]

voter impersonation fraud”). “‘The electoral system cannot inspire public confidence if

no safeguards exist . . . to confirm the identity of voters.’” Crawford, 553 U.S. at 194 (quot-

ing Building Confidence in U.S. Elections § 2.5 (Sept. 2005)).




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VII.      The Appropriate Remedy Is Discounting the Illegal Ballots.

          In the end, the State Board and Justice Riggs do not disagree with Judge Griffin’s

reading of the law—they simply believe it’s too late to comply with the law. But the results

of an election cannot be tainted by ballots unlawfully cast. Judge Griffin’s protests satisfy

the legal standards established in the election-protest statutes and, therefore, the Court

should order that any unlawful vote be discounted.

          A.     To succeed, Judge Griffin need only provide substantial evidence of an
                 outcome-determinative violation of election law.

          To ensure that no election is subject to the taint of inaccurate results, the General

Assembly provided a lenient standard for the success of an election protest.

          Our state constitution requires that elections be “free.” N.C. Const. art. I, § 10. An

election is free only if “the votes are accurately counted. Inherently, votes are not accurately

counted if ineligible voters’ ballots are included in the election results.” Bouvier, 386 N.C.

at 3, 900 S.E.2d at 842 (quoting Harper v. Hall, 384 N.C. 292, 363, 886 S.E.2d 393, 439

(2023)).

          The election-protest process is the legislature’s recognition that free—and, thus,

accurate—elections “are vital to maintaining the public’s trust and confidence in our sys-

tem of self-government.” Id. at 4, 900 S.E.2d at 842. The election-protests process is

meant “to assure that an election is determined without taint of fraud or corruption and

without irregularities that may have changed the result of an election.” Id. at 4, 900 S.E.2d

at 843.




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       Given the critical role that protests play in ensuring the public’s confidence in the

democratic process, the General Assembly provided for a lenient standard for a successful

protest. This is because election boards “must expeditiously resolve election protests to

facilitate appeals and the timely certification of elections.” Id. at 16, 900 S.E.2d at 850.

Election protests, therefore, “proceed rapidly, and the process does not lend itself to ex-

haustive discovery and absolute precision.” Id.

       For an election protest to succeed, the election protest only needs to present “sub-

stantial evidence to believe that a violation of the election law or other irregularity or mis-

conduct did occur and that it was sufficiently serious to cast doubt on the apparent results

of the election.” N.C. Gen. Stat. § 163-182.19(d)(2)(d), (e) (emphasis added). If an election

protest is successful, the statutes authorize the elections board to correct the vote count

and declare new results. Id. § 163-182.19(d)(2)(d), (e).

       This Court has described the “substantial evidence” standard as creating a “low”

bar. State v. Taylor, 379 N.C. 589, 611, 866 S.E.2d 740, 757 (2021). Thus, in State v. Butler,

this Court stated: “To be substantial, the evidence need not be irrefutable or uncontro-

verted; it need only be such as would satisfy a reasonable mind as being adequate to support

a conclusion.” 356 N.C. 141, 145, 567 S.E.2d 137, 139 (2002) (quotation omitted). In plain

terms, “substantial evidence is simply evidence that is “more than a scintilla” and is “such

relevant evidence as a reasonable mind might accept as adequate to support a conclusion.”

Lackey v. Dept. of Human Resources, 306 N.C. 231, 238, 293 S.E.2d 171, 176 (1982).




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        Courts routinely apply the “substantial evidence” standard, and have recognized

for decades that “uncorroborated and untested testimony and hearsay testimony” can con-

stitute substantial evidence, as long as that evidence is reliable and trustworthy. EchoStar

Commc’ns Corp. v. FCC, 292 F.3d 749, 753 (D.C. Cir. 2002). It is also generally accepted

that the “substantial evidence” standard can be satisfied by something less than a prepon-

derance of the evidence, La. Public Service Comm’n v. FERC, 20 F.4th 1, 7 (D.C. Cir. 2021),

and that the possibility of drawing two inconsistent conclusions from the evidence does not

prevent a finding from being supported by substantial evidence, Mid Continent Steel & Wire,

Inc. v. United States, 940 F.3d 662, 669 (Fed. Cir. 2019).

        B.     Judge Griffin provided substantial evidence of outcome-determinative
               election-law violations.

        For the reasons already discussed, Judge Griffin’s protests identify three categories

of voters who, as a matter of law, are ineligible to vote in the 2024 elections. There is no

doubt that North Carolina law prohibited these three categories of voters to cast ballots for

Seat 6 of the North Carolina Supreme Court. The State Board’s willingness to allow these

voters to potentially determine the outcome of the election is a clear violation of election

law.

        In addition to establishing election-law violations, Judge Griffin’s protests provide

the identities of the ineligible voters. Judge Griffin’s protests were each accompanied by an

affidavit that (1) explained how the identities of these ineligible voters were determined

based on data from the State Board and (2) attached the resulting lists of the voters’




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identities. In the aggregate, the affidavits and lists that accompany the protests establish

the following numbers of ineligible voters by category:

           Incomplete voter registration: 60,273.

           Never residents: 267.13

           Overseas voters without photo IDs: 5,509.14

       Judge Griffin currently trails Justice Riggs by only 734 votes. There is no question

that the State Board’s unlawful decision to permit 5,509 overseas voters to cast ballots with-

out providing photo identification is of a magnitude that it casts doubt on the outcome of

the election. That is all the more true of the State Board’s unlawful decision to allow 60,273

individuals to cast ballots despite the individuals never completing registration. While the

Never Residents are, in isolation, insufficient to change the outcome of the election, those

267 voters could become outcome-determinative after the results are adjusted for the other

categories of unlawful voters.


13     Judge Griffin was able to identify Never Residents who had submitted materials to
       the State Board. There are additional Never Residents who cast ballots but submit-
       ted their materials to the county boards of elections. Although Judge Griffin is not
       certain that these additional Never Residents are sufficient in number to change the
       outcome of his election, Judge Griffin ask that the Court’s relief make clear that all
       Never Residents—whether they submitted materials to the State Board or a county
       board—be ineligible to vote in a state election.
14     Judge Griffin filed protests challenging no-ID overseas voters in six counties. Before
       filing the protest, counsel to Judge Griffin requested the list of such voters from six
       counties. App. 176. When the protests were originally filed, only one county (Guil-
       ford) had provided a list of such voters, and this list was included with the protest
       filed in Guilford County. App. 1831-78. Since filing the protests, Durham, Forsyth,
       Buncombe counties have provided the lists as well, and the lists were filed as sup-
       plements to Judge Griffin’s protests. App. 177-343.


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          Again, the General Statutes require only “substantial evidence” of an outcome-de-

terminative election-law violation. N.C. Gen. Stat. § 163-182.19(d)(2)(d), (e). This is a

“low” bar, Taylor, 379 N.C. at 611, 866 S.E.2d at 757, that does not require “irrefutable or

uncontroverted” evidence—it requires only that “a reasonable mind” might find the evi-

dence to be adequate, Butler, 356 N.C. at 145, 567 S.E.2d at 139. The affidavits and lists

constitute “substantial evidence” of outcome-determinative election-law violations be-

cause the affidavits and lists are, as a matter of law, sufficient to support a reasonable mind’s

conclusion that such voters were ineligible to vote. See Lackey, 306 N.C. at 238, 293 S.E.2d

at 176.

          C.    The Board tried to cast doubts about its own data.

          In its decision, the Board cast doubt on the unrebutted evidence offered in support

of Judge Griffin’s protests. Namely, the Board questioned whether the 60,000 voters iden-

tified in the protests had failed to provide their drivers license or social security numbers.

App. 52.

          As a threshold matter, the affidavits that accompany Judge Griffin’s protest explain

that the list identifying the incomplete registrants was provided by the State Board itself

in response to a public records request. App. 1754-55 ¶¶ 9-11. The fact that the Board is

now attempting to impeach its own data should make the Court suspicious of the Board’s

purported factual concerns. But the Court can also quickly dispense with these concerns

on the merits.




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       To try to create doubt about the list provided by the State Board, the Board now

speculates that the list could be over inclusive.

       The State Board first speculates that the list might include individuals who were

never issued a drivers license or social security number. See App. 52-53. But the Board—

which certainly knows the answer to its own question—stops short of alleging that a single

individual on the list falls within this category.

       Second, the Board theorizes that some individuals might appear on the Board’s list

because, despite providing a drivers license or social security number with their application,

the number was removed from “the voter’s registration record” after the number failed

the validation process. App. 53-54. But the Board concedes that, while the number is no

longer in the “voter’s registration record,” “the data is still retained elsewhere in the sys-

tem.” App. 54 (emphasis added). The Board, moreover, provided a list of voters for which

the Board’s records did “not contain data” of either a drivers license number or social

security numbers. App. 1754-55 (emphasis added).15 According to the Board itself, the

Board provided a list of voters for which the Board had no data of a drivers license or social

security numbers. Notably, the Board never alleges that a single individual on the list pro-

vided a drivers license or social security number.




15     Mr. Bonifay explains in his affidavit that he screened the Board’s list for individuals
       who lacked data for both a drivers license number and a social security number, and
       then he matched that subset against a list of individuals who voted by absentee or
       provisional ballot. App. 1755.


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       None of the Board’s speculation undermines the reality that Judge Griffin’s incom-

plete-registration protests provide substantial evidence of an outcome-determinative elec-

tion-law violation.

       D.     The Court should order the ineligible votes discounted and the election
              results retabulated.

       Like this Court held decades ago, “To permit unlawful votes to be counted along

with lawful ballots in contested elections effectively ‘disenfranchises’ those voters who cast

legal ballots, at least where the counting of unlawful votes determines an election’s out-

come.” James, 359 N.C. at 270, 607 S.E.2d at 644. And the U.S. Supreme Court made the

same point decades before that, reconfirming it in Bush v. Gore: “And the right of suffrage

can be denied by a debasement or dilution of the weight of a citizen’s vote just as effectively

as by wholly prohibiting the free exercise of the franchise.” Reynolds v. Sims, 377 U.S. 533,

555 (1964), quoted by Bush v. Gore, 531 U.S. 98, 105 (2000).

       This case is not the first time that an election protest has caught the State Board

violating the law and counting unlawful ballots. In the 2004 general election, the Board

“improperly counted provisional ballots cast outside voters’ precincts of residence on elec-

tion day.” James, 359 N.C. at 269, 607 S.E.2d at 644. As this Court held, state law did not

allow these voters to cast ballots. The issue came to the Court from an election protest. Id.

at 263, 607 S.E.2d at 640. And like the violation of law here, that one too was “statutorily

unauthorized” and resulted in “thousands of citizens” being denied “the right to vote on

election day.” Id. at 269, 607 S.E.2d at 644. Nonetheless, this Court unanimously held that




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the error could not be remedied in a way to ensure the votes were counted: “This Court is

without power to rectify the Board’s unilateral decision to instruct voters to cast provi-

sional ballots in a manner not authorized by State law.” Id. at 270, 607 S.E.2d at 644. If the

Court had simply permitted the State Board to count the statutorily unauthorized ballots,

it would have disenfranchised those who cast lawful ballots: “To permit unlawful votes to

be counted along with lawful ballots in contested elections effectively ‘disenfranchises’

those voters who cast legal ballots, at least where the counting of unlawful votes determines

an election’s outcome.” Id.

       Of course, Judge Griffin filed his election protests because unlawful votes have been

counted, which has likely determined the election’s outcome. Under James, the Board was

required to discount the unlawful ballots. That is the normal result of a successful election

protest. See Bouvier, 386 N.C. at 4, 900 S.E.2d at 843 (“Where the irregularity affects the

accuracy of the election results, the county board of elections may order the ineligible bal-

lots excluded from the vote total . . . .”).

       Before the State Board of Elections, there was discussion of whether the Board could

order a post-election cure period for some of Judge Griffin’s protests. But Justice Riggs’s

counsel adamantly opposed a cure opportunity, calling it unconstitutional and ultra vires. If

there is to be no post-election cure opportunity, then the only remedy left is the James

remedy: excluding the ineligible ballots.




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                       REQUESTED RULINGS AND RELIEF

      In the interests of finality and expediency, Judge Griffin respectfully requests that

the Court’s order on the petition a writ of prohibition address every issue that has been

raised in this proceeding. To summarize the preceding points, Judge Griffin requests that

the Court hold:

      (a)    Ballots cast by people who failed to provide their drivers license number or

             social security number when they registered to vote cannot be counted for

             this electoral contest.

      (b)    Ballots cast by people who represented that “I am a U.S. citizen living outside

             the country, and I have never lived in the United States” cannot be counted

             for this electoral contest.

      (c)    Ballots cast by overseas voters who did not present a photo identification can-

             not be counted for this electoral contest.

      (d)    Judge Griffin’s election protests were properly brought as election protests

             and were not required to be brought as voter challenges.

      (e)    Judge Griffin’s election protests do not require the removal of any person

             from the voter rolls.

      (f)    All arguments under the NVRA, HAVA, the VRA, and the Civil Rights Act

             against the relief requested by Judge Griffin are rejected.




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      (g)    All arguments under the state or federal constitution that affected persons

             who cast ballots were improperly served or are due additional process are re-

             jected.

      (h)    All other arguments that the ballots cannot be discounted without violating

             the federal or state constitution are rejected.

      (i)    This State Board is prohibited from counting the above-identified ballots,

             which were not lawfully cast.

                                    CONCLUSION

      Judge Griffin respectfully requests that the Court issue a writ of prohibition prohib-

iting the Board from counting the unlawful ballots in the election for Seat 6 of the North

Carolina Supreme Court and ordering the State Board correct the vote count.

      This the 18th day of December, 2024.

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                                          the attorneys listed below have authorized me to
                                          list their names on this document as if they had
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